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                                             STATE OF NEW YORK
                                       OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                    DIVISION OF STATE COUNSEL
ATTORNEY GENERAL                                                                                      LITIGATION BUREAU


                                          Writer Direct: (518) 776-2641

                                                   August 26, 2021


       Hon. Brenda K. Sannes (via ECF)
       United States District Court
       Northern District of New York
       Federal Building and U.S. Courthouse
       P.O. Box 7336
       Syracuse, NY 13261-7336

       Re:      Vance v. Venettozzi, et al.
                Northern District of New York
                18-CV-748 (BKS)(ATB)

       Dear Judge Sannes:

              Please accept this letter as Defendants’ objections to the August 12, 2021 Report and
       Recommendation of Judge Baxter in the above-referenced action so far as it recommends denial
       of Defendants’ Barcomb’s and Reif’s motion for summary judgment. See Dkt. 178 at 15–16. The
       Defendants do not object to any other portion of the Report and Recommendation.

                                             Procedural Background

               Paragraph 12 of Defendants’ Statement of Material Fact states “Defendant Barcomb was
       not at all present for the May 11 incident. Barcomb decl., ¶¶ 4–6.” Dkt. 161-2; see also dkt. 161-
       3 (declaration of Defendant Barcomb). Paragraph 13 of the Statement of Material Facts states,
       “Defendant Reif was not present for the May 11 incident, and he did not arrive at the location until
       plaintiff was already secured and walking away. Reif decl., ¶¶ 4–7.” Dkt. 161–2; see also dkt.
       161-4 (declaration of Defendant Reif).

               The defendants’ Notice of Motion included the current version of this Court’s Notification
       of the Consequences of Failing to Respond to a Summary Judgment Motion, which informed
       Plaintiff that he must provide a “response to the defendants’ statement of material fact . . . that
       supports each denial with record evidence.” Dkt. 161 at 3. In paragraph 12 of his response to the
       Statement of Material Facts, Plaintiff wrote “I admit that Defendant Barcomb was involved in the
       use of force incident and that he was observed on the 3rd deck of 9 and 10 Company in the Upper
       F Block at Clinton C.F. on May 11, 2016.” Dkt. 169-2. Plaintiff provided a substantially similar

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answer to Paragraph 13 with respect to Defendant Reif. Plaintiff provided no citation to record
evidence for either “admission.”

                                        Standard of Review

        If a party properly objects to a specific element of the magistrate judge’s findings and
recommendations, the Court reviews those findings and recommendations de novo. See Jordan v.
Fischer, 773 F. Supp. 2d 255, 261 (N.D.N.Y. 2011). In those cases where no party has filed an
objection, or only a vague or general objection has been filed, this court reviews the findings and
recommendations of a magistrate judge for clear error. See id.

                                              Argument

        The Court should grant summary judgment to Defendants Barcomb and Reif. When
opposing a motion for summary judgment, a “party asserting that a fact . . . is genuinely disputed
must support that assertion by: (A) citing to particular parts of materials in the record . . . ; or (B)
showing that the materials cited [by the other party] do not establish the absence . . . of a genuine
dispute.” Fed. R. Civ. P. 56(c)(1) (emphasis added); see also Local Rule 56.1(b) (“Each denial
shall set forth a specific citation to the record where factual issue arises.”) (emphasis added). Local
Rule 56.1(b) requires that “the opposing party must support every denial with a citation to record
evidence” because “a naked denial of a fact the movant claims to be undisputed would do little to
help the Court.” Lee v. City of Troy, __ F. Supp. 3d __, 2021 U.S. Dist. LEXIS 28208 at *3
(N.D.N.Y. February 16, 2021); see also Clark v. Jewish Childcare Ass’n, 96 F. Supp. 3d 237, 242
n.1 (S.D.N.Y. 2015) (explaining that a “pro se litigant is not excused from this rule”) (internal
quotation marks omitted). If the non-movant “fails to properly address the movant’s assertion of
fact as required by Rule 56(c), the court may . . . consider the fact undisputed for the purposes of
the motion” and/or “grant summary judgment if the motion and the supporting materials—
including the facts considered undisputed—show the movant is entitled to it.” Fed. R. Civ. P.
56(e)(2), (3); see also Meaney v. CHS Acquisition Corp., 103 F. Supp. 2d 104, 109 (N.D.N.Y.
2000) (accepting the movant’s Statement of Material Facts as uncontroverted because the non-
movant “failed to comply with the requirements of L.R. [56.1’s predecessor] and to controvert
with specificity the facts set forth in movant[]’s Statement of Material Facts”).

        Plaintiff’s response to the Defendants’ Statement of Material Facts failed to contain a single
citation in support of any denials. See Dkt. 169-2. Judge Baxter recognized the response was “a
confusing mix of ‘admissions’ that are not really responsive to the defendants’ statement of
material fact and outlandish demands for relief” with a particular emphasis on female servants.
Dkt. 178 at 12 n. 10. Although the Defendants warned Plaintiff of the consequences, he chose to
cutely cloak denials as “admissions,” and Plaintiff provided no citations to record evidence.
Where, as here, “the non-movant willfully fails to deny the factual assertions contained in the
movant’s Rule [56].1 Statement of Material Facts in matching numbered paragraphs supported by
a citation to admissible record evidence (as required by Rule [56.1(b)] of the Court’s Local Rules
of Practice), the court has no duty to perform an independent review of the record to find proof of
a factual dispute.” Panagropoulos v. N.Y. State DOT, 172 F. Supp. 3d 597, 616 (N.D.N.Y. 2016)
(emphasis added). Given Plaintiff’s willful failure to follow the Federal and Local Rules, the
functionally undisputed facts show that Defendants Barcomb and Reif were not present for the
incident.
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        The Court should disregard plaintiff’s unsupported response and accept Paragraphs 12 and
13 of Defendants’ Statement of Material Facts as uncontroverted. See McCaskill v. Shoprite
Supermarket, 2015 U.S. Dist. LEXIS 11555 at *3 (N.D.N.Y. January 30, 2015) (Sannes, J.)
(“While the Court is cognizant of the challenges faced when proceeding pro se, plaintiff has
entirely failed to dispute defendant's facts based on admissible record evidence”); see also id. at
*3–4 n. 3 (“Even pro se inmates ‘should be on notice from the very publication of Rule 56(e) that
a party faced with summary judgment motion may not rest upon the mere allegations or denial of
the party’s pleading and that if the party does not respond properly, summary judgment, if
appropriate, shall be entered against him.”) (quoting Champion v. Artuz, 76 F.3d 483, 485 [2d Cir.
1996] [affirming the grant of summary judgment against a pro se inmate in a Section 1983 case]).
Plaintiff had the opportunity to controvert the Statement, and he declined to do so. Accordingly,
the Court should deem Paragraphs 11 and 12 admitted.

         To the extent that Judge Baxter hypothesized that “it is unclear whether either of these
defendants may have witnessed the incident and failed to intervene,” dkt. 178 at 16, a failure to
intervene claim is not before this Court. See Dkt. 25 at 32–33 (listing the claims surviving the
Court’s Section 1915 review). Defendants object to the injection of a new theory of liability at
this late posture. If Defendants Barcomb and Reif knew they had to defend against a failure to
intervene claim, their declarations would have been different. The Court should limit its analysis
to the claim presently pending: excessive force.

       Even if a failure to intervene claim were pending, the functionally-uncontroverted
Statement of Material Fact rebuts the drawn conclusion. Neither Defendant Barcomb nor
Defendant Reif were present for the use of force. Dkt. 161-2 at ¶¶12–13; dkt. 161-3 at ¶¶ 4–6; dkt.
161-4 at ¶¶ 4–7. Thus, the uncontroverted Statement of Material Facts demonstrates that neither
Defendant Barcomb nor Defendant Reif “had a realistic opportunity to intervene and prevent the
harm from occurring” and “disregarded that risk by intentionally refusing or failing to take
reasonable measures to end the use of excessive force.” Clark v. Gardner, 256 F. Supp. 3d 154,
167 (N.D.N.Y. 2017) (citing Curley v. Village of Suffern, 268 F.3d 65, 72 [2d Cir. 2001]). The
material facts therefore rebut two of the elements Plaintiff must prove.

        At this juncture, Defendants are not asking the Court to dismiss all remaining claims even
though Plaintiff failed to provide any citation to any record evidence showing any dispute of
material fact. Defendants are not even asking this Court to dismiss all of Plaintiff’s claims about
the May 11 incident. This case can still proceed to trial with respect to seven defendants in two
separate incidents. The Defendants only request that this Court grant summary judgment to the
two Defendants who—according to the functionally-unrebutted Statement of Material Fact—were
not present and could not have assaulted Plaintiff or intervened.
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       The Defendants incorporate herein all declarations, evidence and arguments submitted in
support of their motion for summary judgment, see dkts. 161, 173, and respectfully request that
the Court grant Defendants’ Barcomb and Reif summary judgment.

       Pursuant to 28 U.S.C. §1746, I declare that, on this date, I caused the plaintiff to be
       served with a copy of this letter by First-Class United States Mail at the address below.



                                                    Respectfully,

                                                    s/ Jonathan S. Reiner
                                                    Jonathan S. Reiner
                                                    Assistant Attorney General
                                                    Bar Roll No. 702645
                                                    jonathan.reiner@ag.ny.gov

cc:    Wayne Vance (DIN: 12-B-3682)
       Elmira Correctional Facility
       1879 Davis Street
       P.O. Box 500
       Elmira, NY 14901
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           Appendix of
         Unpublished Cases
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                                               Lee v. City of Troy
                           United States District Court for the Northern District of New York
                                 February 16, 2021, Decided; February 16, 2021, Filed
                                                       1:19-CV-473

Reporter
2021 U.S. Dist. LEXIS 28208 *; __ F. Supp. 3d __; 2021 WL 567240
                                                                predictably, the parties do dispute whether that use of
LAMONT LEE and TYMEL KORNEGAY, Plaintiffs, -v-
                                                                force was reasonable.
THE CITY OF TROY; PATROLMAN CHRISTOPHER
PARKER; PATROLMAN LOUIS PERFETTI;
                                                                But there is more. On April 24, 2018, Lee and his
PATROLMAN JUSTIN ASHE; PATROLMAN KYLE
                                                                grandson, plaintiff Tymel Kornegay ("Kornegay" and
JONES; PATROLMAN "JOHN" MORRIS; and
                                                                together with Lee "plaintiffs") had their car stopped by a
SERGEANT "JOHN" BARKER, Defendants.
                                                                different group of Troy police officers. The officers had
                                                                received two tips, one anonymous and one face-to-face,
Subsequent History: Reconsideration denied by Lee v.
                                                                that a car of a roughly similar description to plaintiffs'
City of Troy, 2021 U.S. Dist. LEXIS 68262, 2021 WL
                                                                carried two men who had just committed a robbery and
1318105 (N.D.N.Y., Apr. 8, 2021)
                                                                were allegedly [*2] about to commit murder. The
                                                                investigating officers patted plaintiffs down and
Motion granted by Lee v. City of Troy, 2021 U.S. Dist.
                                                                searched their car, which plaintiffs contend was an
LEXIS 87641 (N.D.N.Y., May 7, 2021)
                                                                unreasonable search and seizure in violation of their
Counsel: [*1] For Plaintiffs: EDWARD SIVIN, ESQ.,               Fourth Amendment rights.
GLENN D. MILLER, ESQ., OF COUNSEL, SIVIN,
                                                                On April 22, 2019, plaintiffs filed a complaint in the
MILLER & ROCHE LLP, New York, New York.
                                                                Northern District of New York alleging several claims for
For Defendants: MICHAEL E. GINSBERG, ESQ.,                      civil rights violations against Troy and the officers
RHIANNON INEVA SPENCER, ESQ., OF COUNSEL,                       involved in those altercations: Christopher Parker
PATTISON, SAMPSON LAW FIRM, Troy, New York.                     ("Parker"); Louis Perfetti ("Perfetti"); Justin Ashe
For Defendants: RICHARD T. MORRISSEY, ESQ., OF                  ("Ashe"); Kyle Jones ("Jones"); Jeremy "John" Morris
COUNSEL, OFFICE OF RICHARD T. MORRISSEY,                        ("Morris") and Steven "John" Barker ("Barker" together
Troy, New York.                                                 with the city and the other officers "defendants").1 On
                                                                October 20, 2020, defendants moved for summary
Judges: David N. Hurd, United States District Judge.            judgment against all of plaintiffs' claims under Federal
                                                                Rule of Civil Procedure ("Rule") 56. On November 30,
Opinion by: David N. Hurd                                       2020, plaintiffs cross-moved for summary judgment in
                                                                their favor under the same rule as to their own
Opinion                                                         unreasonable search and seizure claims arising out of
                                                                the April 24, 2018 stop. Those motions having been fully
                                                                briefed, they will now be decided on the basis of the
                                                                parties' submissions without oral argument.
MEMORANDUM—DECISION and ORDER

                                                                II. BACKGROUND
I. INTRODUCTION
                                                                This case involves two distinct but—according to
On the night of March 3, 2018, plaintiff Lamont Lee
("Lee") was arrested outside a bar in the City of Troy,
New York ("Troy" or the "city") by several of the city's        1 The complaint identifies Morris and Barker as "John" Morris
police officers. It is undisputed that the arresting officers   and Barker. The parties' motions, however, acknowledge
used force to enact that arrest. However, and perhaps           these defendants by their given names. This memorandum-
                                                                decision and order will do the same.
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                                                                                                             Page 2 of 16
                                            2021 U.S. Dist. LEXIS 28208, *2

plaintiffs—connected encounters between plaintiffs and          same pattern repeats itself among several similarly
the Troy police department. The first [*3] took place on        framed paragraphs. See, e.g., DSMF ¶¶ 18, 22, 29, 30,
March 3, 2018 (the "March 3 incident"), while the               32-37, 61; PSMF ¶¶ 18, 22, 29, 30, 32-37, 60.2
second took place on April 24, 2018 (the "April 24
incident"). However, before the Court can properly flesh        As this Court has been forced to note all too frequently,
out either incident, it must address some of the parties'       the best practice would have been for plaintiffs to simply
missteps in presenting this case's factual universe.            admit the fact and move on, trusting the Court to realize
                                                                that plaintiffs were only admitting that the officers'
                                                                affidavits made those claims, rather than admitting the
A. Defendants' Objections to Plaintiffs' Statement of           truth of what the officers were claiming. See Crawley v.
Disputed Facts.                                                 City of Syracuse, 496 F. Supp. 3d 718, 2020 U.S. Dist.
                                                                LEXIS 196676, 2020 WL 6153610, at *6 (N.D.N.Y. Oct.
According to Local Rule of the Northern District of New         21, 2020) ("If the material fact proffered by the movant is
York ("Local Rule") 56.1(b), a party opposing a motion          (1) accurate and (2) supported by the citation on which it
for summary judgment must admit or deny each                    is based, the non-movant should just admit the
paragraph of the movant's statement of material facts.          statement and move on."). Instead, plaintiffs muddied
Because a naked denial of a fact the movant claims to           the present motion practice by denying claims that they
be undisputed would do little to help the Court, the            truly admit to repeatedly argue that the underlying
opposing party must support every denial with a citation        factual events are still in dispute.
to record evidence supporting a genuine dispute of
material fact. Id. If the opposing party fails to provide       Plaintiffs were welcome to—and did—provide their own
that support, the Court may deem that fact admitted. Id.        facts as evidence of a dispute as to what happened on
                                                                the night of March 3 and the morning of April 24. See
Defendants object to dozens of paragraphs of plaintiffs'        PSMF pp. 26-32. That was the proper time and place to
response statement of material facts. Those objections          advance plaintiffs' own narrative of the events at the
are best considered as falling into three loose                 heart of this case, not in response to defendants' [*6]
categories. Among the first, plaintiffs denied facts in         own statement. Accordingly, to the extent that plaintiffs
which defendants only noted that an officer swore to a          deny paragraphs 18, 22, 29, 30, 32, 33, 34, 35, 36, 37,
certain fact. The second category includes [*4]                 and 61 for the sole purpose of disputing the truth of an
paragraphs in which defendants contend plaintiffs               attestation described in those paragraphs, the Court will
injected arguments into paragraphs they functionally            disregard those denials and deem those paragraphs
admitted, thus defeating the purpose of the admit/deny          admitted.
format mandated by Local Rule 56.1(b). Third and
finally, for a great many paragraphs, plaintiffs objected       Defendants' second objection is similarly valid.
that video evidence defendants purported to submit to           Throughout their statement of material facts, plaintiffs
the Court could not accurately capture the entirety of          repeatedly quibble with ancillary details in defendants'
Lee's interaction with police during the March 3 incident.      statement of material facts or else make argument
                                                                instead of actually disputing the fact itself. For example,
On the first point, a number of defendants' material facts      in one paragraph plaintiffs admit that plaintiff Kornegay
amount to a statement that one of the officers swore to         testified as defendants' statement of material facts
a certain fact in their affidavits. For example, one            described, but plaintiffs interject that Kornegay said
paragraph of defendants' statement of material facts            more than defendants quoted. PSMF ¶ 72 ("Plaintiffs
claimed: "Ashe, . . . Jones[,] and . . . Perfetti attest that   admit that Kor[ne]gay testified to the above-mentioned
they did not hear . . . Lee state or warn that he was           events but denies that this constituted the full extent of
reaching into his pocket to obtain medication." See, Dkt.       his testimony concerning what he was instructed to do
33-21, Defendants' Statement of Material Facts                  and/or what was done to him.").
("DSMF"), ¶ 22. In response to that paragraph, plaintiffs
responded: "[p]laintiff[s] den[y] inasmuch as defendants
Ashe, Jones, and Perfetti's not hearing plaintiff Lee state
                                                                2 Plaintiffs'
or warn that he was reaching into his pocket to obtain                        statement of material facts combines defendants'
medication amounts to an undisputed material fact that          paragraphs 39 and 40 into one paragraph 39. Compare DSMF
plaintiff did not in fact do so." Dkt. 38-2, Plaintiffs'        ¶¶ 39-40, with PSMF ¶ 39. Every subsequent paragraph in
Statement [*5] of Material Facts ("PSMF"), ¶ 22. The            plaintiffs' response statement of material facts is off by one
                                                                paragraph as a result.
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In one notable paragraph, plaintiffs object to defendants     Court could deem these paragraphs of defendants' Rule
acknowledging that Lee was speaking in a hypothetical         56.1(a) statement admitted, which would spell
because defendants did not satisfactorily convey—by           disaster [*9] for plaintiffs' claims stemming from the
plaintiffs' standards—the degree to which Lee was             March 3 incident. Local Rule 56.1(b). However,
speaking [*7] hypothetically. PSMF ¶ 67 ("Plaintiffs          fortunately for plaintiffs, defendants' own submissions
deny that Lee testified that he believed there 'could have    are just as imperfect.
been a possible early morning raid on somebody's
home' in a purely literal sense; rather, he testified that    Specifically, defendants have failed to provide the Court
his observation of the number of armed officers caused        with the video evidence on which these paragraphs rely.
him to surmise that the scene 'was looking like it could      Although defendants submitted a disc purporting to
have been a possible early morning raid on somebody's         contain the surveillance video from the night of March 3,
home,' in a figurative sense." (emphasis added)). Once        that disc contained only a video of a police interview that
again, there are many similar examples. PSMF ¶¶ 18,           is largely ancillary to this case. Even so, the Court
19, 21, 31, 55, 60-61, 69-70, 74.                             afforded defendants an opportunity to correct this
                                                              mistake. Dkt. 43. Defendants' attempt to capitalize off of
It is not the purpose of a statement of material facts to     that opportunity amounted to sending the Court an
allow the parties a battleground to fight over the            entirely nonfunctional disc.
phrasing of claimed facts. The purpose is to clarify the
                                                              In other words, defendants' citations in their statement
issues in dispute for the Court to focus on the heart of
the parties' disagreement. See Holtz v. Rockefeller &         of material fact relying on the surveillance video are
Co., 258 F.3d 62, 74 (2d Cir. 2001). The Court will           citations to evidence that is not in the record. DSMF ¶¶
therefore disregard plaintiffs' ancillary arguments in        11, 14-16, 24-25, 28, 31, 39. By extension, although it is
                                                              true that plaintiffs violated Local Rule 56.1(b) by failing
paragraphs 18, 19, 21, 31, 55, 60, 61, 67, 69, 70, 72,
                                                              to properly cite to record evidence refuting the material
and 74, and will only consider their statement of material
                                                              facts put forward by defendants, defendants themselves
facts to the extent that they properly deny a fact
                                                              violated Local Rule 56.1(a) by failing to cite to record
defendants claim to be undisputed. See, e.g., Baity v.
                                                              evidence in supporting their claim of an undisputed
Kralik, 51 F. Supp. 3d 414, 418 (S.D.N.Y. 2014)
(admonishing plaintiff for interjecting arguments into        material fact. See Fed. R. Civ. P. 56(c)(1) ("A party
statement of material facts and exceeding proper scope        asserting that a fact cannot [*10] be . . . genuinely
of Rule 56.1(b) statement).                                   disputed must support the assertion by . . . citing to
                                                              particular parts of materials in the record (emphasis
Yet there is one more category [*8] of denials to which       added)). In the absence of functional video evidence in
defendants object that must be addressed. In quite a          the record, defendants' summary judgment motion for
few paragraphs, plaintiffs deny that the surveillance         the March 3 incident must be decided based only on the
video of the March 3 incident, one of the most important      other available evidence.
pieces of evidence at the parties' disposal, depicts the
events of the March 3 incident accurately enough to
support defendants' claims. PSMF ¶¶ 11-14, 17-19, 23-         B. The March 3 Incident.
28, 31-37, 43. Once again, rather than repeating a
                                                              Having set the stage by establishing the evidence upon
sizeable boilerplate about the video's inability to
                                                              which the Court can rely, the Court at last turns to
completely and accurately portray the March 3 incident,
                                                              unwrapping the story that evidence tells. To that end, on
plaintiffs should have provided a citation to record
                                                              the night of March 3, 2018, defendant police officers
evidence indicating that defendants' narrative was
                                                              Ashe, Perfetti, Parker, and Jones were conducting
disputed or else admitted the fact supported by the
video. For example, plaintiffs could have cited to Lee's      surveillance in Troy. DSMF ¶ 8.3 Specifically, recent
deposition testimony where it contradicted defendants'        complaints of narcotics activity and a witness report of
framing of the facts. Alternatively, plaintiffs could have    the same drew the city's eyes to a bar called Vivian's
submitted an affidavit by Lee presenting a conflicting
narrative and cited to that. Plaintiffs did neither.
                                                              3 The  facts are taken from defendants' statement of material
In the absence of a citation to record evidence, it is easy   facts where admitted by plaintiff, or from other record
                                                              evidence. Disputed facts are flagged and supported by
to get the impression that plaintiffs are not disputing
                                                              citations to either the proponent's statement of material facts
facts so much as wishing them away. Once again, the
                                                              or to record evidence.
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Lounge ("Vivian's"). Id. ¶ 9.                                one heavy blow to the back of his head. Id. at 35, 37.
                                                             The force of the blow drove Lee's head into the
While monitoring the area around Vivian's, Ashe              concrete, which according to him caused a hematoma
observed what he perceived to be a "hand-to-hand             and a laceration on his left eyebrow. Id. at 38-39. Lee
narcotics transaction" between two men outside of the        does not recall whether any police officers told him to
bar. DSMF ¶ 10; Dkt. 33-11 ("Parker Aff."), ¶ 14 (noting     place his hands behind his back before the blow fell. Id.
second male involved in alleged transaction). One of         at 38.
those two men was plaintiff Lee. DSMF ¶ 17. Contrary
to Ashe's perception of the interaction, Lee claims he       In sum, Lee claims that he suffered a laceration and
was only at Vivian's to socialize, [*11] and was simply      hematoma to his eyebrow, bruises to his legs, and a
making conversation at the time Ashe spotted him. Dkt.       cervical injury in his neck and lower back. Lee Dep. 39-
33-3 ("Lee Dep."), p. 20.4                                   41. His lower back injury has required surgery. Id. at
                                                             40 [*13] . As a consequence of the March 3 incident,
Nevertheless, the four officers believed that Ashe had       Lee claims that he suffers from ongoing neck pain and
seen enough and all four converged on Lee and one of         severe headaches. Id. at 41.
the people he was interacting with. DSMF ¶ 12. Perfetti
was first to arrive and directed both men to put their       Although defendants do not dispute the bones of the
hands against the wall. Id. ¶ 13. The other three officers   events Lee describes, the narrower details of the March
arrived on the scene not long after Perfetti did. See id.    3 incident invite a more robust debate. According to
¶¶ 14-16.                                                    defendants, Ashe first grabbed Lee's hand as it
                                                             stretched for his pocket because Ashe was concerned
On Perfetti's orders, Lee put his hands against the wall,    Lee might be reaching for a weapon. Ashe Aff. ¶ 19.
but then began to reach toward his waistband with one        When Ashe's hand closed on Lee's wrist, he claims that
of his hands. DSMF ¶ 18. According to Lee, he told the       Lee turned towards him and tensed threateningly. Id. ¶
police that he had nothing on his person except for his      20. Jones, who had also arrived on the scene to help his
blood pressure medication. Lee Dep. 26. Thus, he             fellow officers arrest Lee, attempted to grab Lee's other
explains, he reached for his pocket only to pull the         wrist. Id. ¶ 21.
medication bottle out to demonstrate. Conversely, Ashe,
Jones, and Perfetti all affirm they did not hear Lee         Yet according to defendants, Lee tried to hide his hands
mention his medication. Dkt. 33-13 ("Ashe Aff."), ¶ 18;      in his pockets and refused to follow the officers'
Dkt. 33-14 ("Jones Aff."), ¶ 18; Dkt. 33-15 ("Perfetti       directions. Ashe Aff. ¶ 22. At this point, Parker left the
Aff."), ¶ 19.                                                other arrestee and grabbed Lee around his neck and
                                                             upper body. Id. ¶ 23. Defendants claim Lee continued to
In either case, the parties agree that Ashe snatched         pull his hands away from the officers and tried to break
Lee's hand as it extended toward his pocket. Ashe Aff. ¶     their hold on him to escape. Id. ¶ 24.
20; Lee Dep. 27. But after that, the parties' narratives
depart sharply. According to Lee, the [*12] other            The officers changed tactics, and successfully took Lee
officers then also grabbed him roughly. Lee Dep. 27.         to the ground. Ashe Aff. ¶ 26. Even still, the officers
Lee tried to ask them to "be a little bit more easy"         claim plaintiff buried his hands under his body and [*14]
because he had recently had spinal surgery. Id. Instead,     refused to comply. Id. According to arresting officer
Lee maintains that the officers twisted his arm and          Jones, Lee ignored his orders to put his hands behind
began striking him with their knees. Id. at 34. Lee claims   his back and instead defiantly insisted that he would not
that eventually the fourth officer, who had been             be arrested. Jones Aff. ¶ 28. Parker claims that while he
supervising the other arrestee, came over and put him        and the other officers were struggling with Lee on the
in a choke hold. Id. at 31. While Lee was being held, the    ground, he felt Lee tugging on his pistol, which he
other officers apparently rifled through his pockets. Id.    believed to be an attempt to pull it free of its holster.
                                                             Parker Aff. ¶ 27. Parker warned the other officers about
Eventually, the officers dragged Lee to the ground. Lee      Lee's alleged attempt to grab his duty weapon. Id.
Dep. 32. Pressed under all four officers' weight, Lee
could not easily discern what they were doing. Id. at 35.    Even after Lee allegedly groped for Parker's weapon,
All he remembers feeling at the bottom of the pile was       the struggle between Lee and the officers on the ground
                                                             persisted for another forty-five seconds. Ashe Aff. ¶ 28.
                                                             During that time, Jones claims he began to strike at
4 Pagination   corresponds with CM/ECF.                      Lee's left bicep and shoulder with his palm to try to draw
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Lee's arm from under his belly to behind his back. Jones      The morning of April 24, 2018 began peacefully enough
Aff. ¶ 30. Perfetti also acknowledges that he kneed Lee       for Lee and his grandson, plaintiff Kornegay. Lee had a
in the upper thigh in an attempt to dislodge that arm.        doctor's appointment, and Kornegay planned to drive
Perfetti Aff. ¶ 30.                                           him. DSMF ¶ 67. But the brakes in Kornegay's truck
                                                              were acting up, so plaintiffs drove together to Lee's
At this point, Jones claims he heard Ashe yell that he        daughter's house on Ida Street to see about borrowing
could not see Lee's hand as it was going to his waist,        Lee's daughter's car. Lee Dep. 73. Lee's daughter
though Ashe did not affirm having said so. Compare            agreed, and handed plaintiffs the keys to her Nissan,
Jones Aff. ¶ 32 ("At one point, [Jones] heard . . . Ashe      which [*17] different observers have described as gray
fearfully and loudly [*15] yell 'I can't see his hand. He's   or silver.5 Id. 74-75; Dkt. 33-4 ("Kornegay Dep."), p. 20.
going for his waist. I don't know what he is reaching         Plaintiffs were getting in the car when an unmarked
for."), with Ashe Aff. ¶¶ 27-30 (describing final stages of   police vehicle drove by.6 Lee Dep. 75.
Lee arrest without mentioning fear of not being able to
see Lee's hand). Jones asserts he then struck Lee's left      But if the start of plaintiffs' day was peaceful, for the
shoulder and back twice with his knee to further              Troy police it was nothing short of chaotic. At about 9:52
dislodge his arm. Jones Aff. ¶ 33. Perfetti apparently        a.m., a man named Oliver James ("James") approached
followed suit, and kneed Lee a third time. Perfetti Aff. ¶    police officers and told them that two African American
32.                                                           males armed with a handgun had robbed someone and
                                                              were now circling a nearby city block. DMSF ¶ 61. In the
Finally, the officers got Lee's arms behind his back and      same timeframe, an unidentified informant called police
handcuffed him. Perfetti Aff. ¶ 32. A search of Lee and       dispatch claiming that a small gray Toyota with two
the area surrounding the arrest uncovered a leafy             males inside tried to "roust" someone else with a gun.
substance that tested positive for marijuana and three        DMSF ¶ 62. The informant elaborated that the
Hydrocodone/acetaminophen pills on Lee's person.              altercation occurred in the area near Ida Street7 and the
Ashe Aff. ¶¶ 32-33. In addition, the police found cocaine
                                                              two assailants were "looking to shoot" the man they had
on the ground nearby. Id. ¶ 34.
                                                              rousted. Id.
The parties agree that the officers next took Lee back to
                                                              As might be guessed, this is where the two stories
their police station, where the Troy Fire Department
                                                              converge. The unmarked police car plaintiffs noticed
treated his injuries. DSMF ¶ 42. According to Lee, the
                                                              also saw them and recognized certain similarities
desk sergeant on duty refused to book him because of
the condition of his face. Lee Dep. 44. Instead, Lee
claims the desk sergeant directed that he be taken to a
                                                              5 Kornegaydescribes the car as silver, but Lee describes it as
nearby hospital for examination and treatment. Id. at 45.
                                                              gray. Compare Kornegay Dep. 20, with Lee Dep. 74.
Once there, Lee's cuts were cleaned and
bandaged, [*16] and he was released without needing           6 Plaintiffs claim that the car was parked on Hill street at the
stitches. DSMF ¶ 42.                                          time they entered it and cite Kornegay's deposition testimony
                                                              to that end. PSMF ¶ 62. As best the Court can glean, plaintiffs
On March 8, 2018, Lee pled guilty to one count each of:
                                                              rely on a redacted portion of Kornegay's deposition, and thus
(1) criminal possession of a controlled substance in the      the Court is not equipped to verify that detail. Because it is
seventh degree; (2) resisting arrest; and (3) loitering in    plaintiffs' burden to cite to record evidence to establish that a
the first degree. DSMF ¶ 48. His guilty plea bought him       fact is in dispute, Fed. R. Civ. P. 56(c)(1), the Court must rely
an agreed-upon sentence of time served, as well as            on defendants' supported statement that the car was located
three years' probation. Id. Even so, Lee unsuccessfully       "in the area of Ida Street," DSMF ¶ 62.
attempted to withdraw that plea. Id. ¶¶ 52-54. He later
                                                              7 James   described the assailants as "circling the block . . . in
appealed his sentencing court's denial of his motion to
                                                              the area of Third Street and Jefferson Street." DSMF ¶ 61. As
withdraw his plea, but that appeal was never perfected.
                                                              permitted by Federal Rule of Evidence 201, the Court takes
Id. ¶ 55. Lee sought out a complaint form to air his
                                                              judicial notice of the fact that Jefferson Street, Third Street, Ida
grievances about defendants' use of force during the
                                                              Street, and Franklin Street form a block. GOOGLE MAPS,
March 3 incident, but never filed any formal complaint.       https://www.google.com/maps/place/Ida+St,+Troy,+NY+12180
DSMF ¶ 58; Lee Dep. 90.                                       /@42.7202903,-
                                                              73.6922781,17.75z/data=!4m5!3m4!1s0x89de0f1a950bcbe9:0
                                                              x39b688a8d0e4643c!8m2!3d42.7200977!4d-73.6901708 (last
C. The April 24 Incident.                                     accessed February 16, 2021).
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between plaintiffs' vehicle and the anonymous tips.           district against defendants. Dkt. 1. That complaint stated
DSMF ¶ 63. Presumably on this officer's report, eight of      eight causes of action best understood as falling into
the city's police officers swiftly converged on plaintiffs'   three categories. The first category includes [*20] the
car for a [*18] high-risk vehicle stop. Id. ¶ 64.             claims dealing with the March 3 incident, and are
                                                              brought only by Lee. Those counts are: (I) assault and
Apparently, such a large force of police officers piqued      battery under the New York common law against
Lee's curiosity. Lee Dep. 78. Lee got out of the car to       Parker, Perfetti, Ashe, Jones, and municipal defendant
find out why eight armed policemen were descending on         Troy; and (II) excessive force and unreasonable search
the neighborhood. Id. As he promptly found out, though,       and seizure in violation of the Fourth Amendment as
the officers were there to investigate him, and               incorporated by the Fourteenth Amendment under 42
immediately ordered him not to move. DSMF ¶ 69. The           U.S.C. § 1983 ("§ 1983") against Parker, Perfetti, Ashe,
officers directed Lee to raise his hands, turn around,        and Jones.
and walk backwards three steps toward them. Id. Once
Lee had approached the officers as ordered, they told         The second category encompasses Counts III-V. Those
him to kneel, then lay flat on his stomach with his hands     counts are again all brought by Lee, but this time they
behind his back. Id. After Lee was on the ground, the         relate to the April 24 incident. Those counts are: (III)
officers approached and handcuffed him. Id. The               assault and battery under the New York common law
officers then issued the same orders to Kornegay. Id. ¶       against Morris, Barker, and Troy; (IV) excessive force
73. Kornegay similarly complied. Id.                          and unreasonable search and seizure under § 1983
                                                              against Morris and Barker; and (V) retaliation under the
Having secured plaintiffs, the officers patted them down      First Amendment as incorporated by the Fourteenth
and searched their car. DMSF ¶ 71; Kornegay Dep. 27.          Amendment under § 1983 against Morris and Barker.
While some officers were looking into the car, the rest
sat plaintiffs down in police vehicles and questioned         Finally, Counts VI-VIII are identical in all respects to
them. DMSF ¶¶ 70, 73. Kornegay remembers being                Lee's claims under Counts III-V, but are raised by
questioned about a robbery, and denying any                   Kornegay instead of Lee. As such, the final three counts
involvement. Kornegay Dep. 28. Lee's deposition did not       are: (VI) assault and battery under the New York
mention any questions about the robbery. See generally        common law against Morris, Barker, and Troy; (VII)
Lee Dep. [*19] passim. Having found no weapons or             excessive force and unreasonable search and seizure
any other clue that a crime was afoot, the officers asked     under § 1983 against Morris and Barker; and (VIII)
plaintiffs if anyone would have had motive to put in a        retaliation   under    the    First   Amendment       as
false call against them. DSMF ¶¶ 70, 74.                      incorporated [*21] by the Fourteenth Amendment under
                                                              § 1983 against Morris and Barker.
At that point, any further investigation appeared to be
fruitless, and the investigating officers released            Defendants did not move to dismiss any of plaintiffs'
plaintiffs. DSMF ¶¶ 71, 75. Plaintiffs each testified at      claims. Instead, the first wave of motion practice in this
deposition that they were cuffed and seated for about         case crested on October 20, 2020, when defendants
ten minutes, and Kornegay estimated that the entire           moved for summary judgment against the complaint in
encounter lasted about twenty. Id. Plaintiffs continued       its entirety. Dkt. 33. Plaintiffs followed suit on November
on to Lee's appointment without further issues. Id. ¶ 75.     30, 2020, cross-moving for summary judgment in their
                                                              favor on Counts IV and VII to the extent they state a
Of the eight officers present for the stop, only two would
                                                              claim for unreasonable search and seizure. Dkt. 38.
become defendants in this case: patrolman Morris and
Sergeant (now Captain) Barker. DSMF ¶ 64. Both
Morris and Barker affirmed they had no knowledge of
                                                              III. LEGAL STANDARD
the March 3 incident on April 24. Id. ¶ 60. Ashe, Perfetti,
Jones, and Parker have all also affirmed that they did
not discuss the March 3 incident with these defendants.
                                                              A. Summary Judgment.
Id. ¶ 59.
                                                              Under Rule 56, summary judgment is warranted "if the
                                                              movant shows that there is no genuine dispute as to any
D. Procedural History.
                                                              material fact and the movant is entitled to judgment as a
                                                              matter of law." Fed. R. Civ. P. 56(a). The party moving
On April 22, 2019, plaintiffs filed a complaint in this
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for summary judgment bears the initial burden of             "Qualified immunity shields government [*23] officials
showing, through the production of admissible evidence,      from civil damages liability unless the official violated a
that no genuine issue of material fact exists. Salahuddin    statutory or constitutional right that was clearly
v. Goord, 467 F.3d 263, 272-73 (2d Cir. 2006). If, and       established at the time of the challenged conduct."
only if, the moving party meets this burden, the burden      Brown v. City of New York, 862 F.3d 182, 190 (2d Cir.
shifts to the nonmoving party to point to evidence           2017) (citing Reichle v. Howards, 566 U.S. 658, 664,
supporting a dispute of facts. Id. at 273.                   132 S. Ct. 2088, 182 L. Ed. 2d 985 (2012)). Functionally
                                                             speaking, determining whether to grant qualified
The nonmoving party must do more than "rest upon the         immunity to a defendant requires a court to consider: (1)
mere allegations . . . of [the plaintiff's] pleading" or     "whether the evidence, viewed in the light most
"simply show that there is some metaphysical doubt as        favorable to the plaintiff, makes out a violation of a
to the material facts." Matsushita Elec. Indus. Co. v.       statutory or constitutional right"; and (2) "whether that
Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct. 1348,      right was clearly established at the time of the alleged
89 L. Ed. 2d 538 & n.11 (1986). Instead, [*22] a dispute     violation." Tracy v. Freshwater, 623 F.3d 90, 96 (2d Cir.
regarding a material fact is genuine "if the evidence is     2010).
such that a reasonable jury could return a verdict for the
nonmoving party." Anderson v. Liberty Lobby, Inc., 477       "To be clearly established, a right must be sufficiently
U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986).     clear that every reasonable official would have
                                                             understood that what he is doing violates that right."
In determining whether there is a genuine issue of           Brown, 862 F.3d at 190 (cleaned up and internal
material fact, the Court must resolve all ambiguities and    citations and quotation marks omitted). The borders of
draw all reasonable inferences against the moving            those rights can become clearly established through
party. Major League Baseball Props., Inc. v. Salvino,        controlling caselaw, but "existing precedent must have
Inc., 542 F.3d 290, 309 (2d Cir. 2008). In short,            placed the statutory or constitutional question beyond
summary judgment asks whether a trial is truly needed        debate." Ashcroft v. al-Kidd, 563 U.S. 731, 741, 131 S.
to resolve the parties' dispute, and the parties must        Ct. 2074, 179 L. Ed. 2d 1149 (2011).
either "put up or shut up." Weinstock v. Colum. Univ.,
224 F.3d 33, 41 (2d Cir. 2000).                              However, the Supreme Court cautions that lower courts
                                                             are "not to define clearly established law at a high level
                                                             of generality," al-Kidd, 563 U.S. at 742, but must instead
B. Section 1983.                                             consider the particular circumstances of the case,
                                                             Brown, 862 F.3d at 190. At bottom, a court should only
Section 1983 allows plaintiffs to recover monetary           grant [*24] summary judgment in an officer's favor on
damages from state actors who violate their civil            the basis of qualified immunity if "the only conclusion a
liberties. 42 U.S.C. § 1983. The common elements to all      rational jury could reach is that reasonable officers
§ 1983 claims are: "(1) the conduct complained of must       would disagree about the legality of the defendant's
have been committed by a person acting under color of        conduct under the circumstances." Cugini v. City of New
state law; and (2) the conduct complained of must have       York, 941 F.3d 604, 615 (2d Cir. 2019) (cleaned up and
deprived a person of rights, privileges, or immunities       internal citations and quotation marks omitted). In
secured by the Constitution or laws of the United            practice, the qualified immunity inquiry is intended to
States." Pitchell v. Callan, 13 F.3d 545, 547 (2d Cir.       shield "all but the plainly incompetent or those who
1994). Similarly common to all § 1983 claims is the          knowingly violate the law." Mullenix v. Luna, 577 U.S. 7,
defense of qualified immunity, which was crafted by the      12, 136 S. Ct. 305, 193 L. Ed. 2d 255 (2015).
Supreme Court to safeguard § 1983's purpose of
providing a check on unlawful governmental conduct
while allowing legitimate government operations to           IV. DISCUSSION
proceed without disruptive lawsuits. Johnson v.
Newburgh Enlarged Sch. Dist., 239 F.3d 246, 250 (2d          As discussed above, defendants argue that plaintiffs
Cir. 2001).                                                  have failed to identify any triable issues of fact across all
                                                             eight counts. Plaintiffs agree that there are no triable
                                                             issues of fact as to their § 1983 illegal search and
C. Qualified Immunity.                                       seizure claims for the April 24 incident, but they argue
                                                             that they are the ones entitled to summary judgment,
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not defendants. For clarity's sake, plaintiffs' claims will   29, 32-33; Perfetti Aff. ¶¶ 28-30, 32. But Lee argues—
be grouped together by incident.                              with evidence in the form of his deposition testimony—
                                                              that he had stopped resisting arrest by the time Jones
                                                              and Perfetti kneed him on the ground. Lee Dep. 27, 35-
A. Lee's March 3, 2018 Claims.                                38 (describing Lee asking officers to be easier with him
                                                              and relating officers being on top of Lee while he was on
Defendants first dispute that Lee has successfully            the ground when he was hit in back of head).
created a question of fact as to their use of force during
the March 3 incident. According to defendants, their use      Viewing the evidence in the light most favorable to
of force was called for by Lee's ongoing resistance to        Lee—as the Court must in considering defendants'
arrest and his groping for Parker's gun. As for Lee's         motion—a reasonable juror could credit Lee's testimony
illegal search [*25] and seizure claims, defendants           and determine that he was no longer resisting arrest at
argue that those claims are foreclosed by Lee's eventual      the time he was struck. Salvino, 542 F.3d at 309 (noting
guilty plea related to this encounter. For both claims,       court must draw all ambiguities in non-movant's favor).
defendants argue that they are entitled to qualified          The necessary consequence of that determination
immunity. Plaintiffs disagree, because they argue that a      would be a finding that Lee was restrained [*27] and
reasonable jury could conclude that defendants acted          compliant for much of the March 3 encounter.
unreasonably in violation of clearly established law.
                                                              By extension, that finding would render all force used in
                                                              taking Lee to the ground and handcuffing him gratuitous
1. Section 1983: Excessive Force.                             and per se excessive. Tracy, 623 F.3d at 99 n.5. In
                                                              other words, a reasonable juror could conclude that
A claim against police for using excessive force during       Ashe, Perfetti, Parker, and Jones used excessive force
an arrest or investigatory stop of a free citizen "is most    in arresting Lee in violation of his Fourth Amendment
properly characterized as one invoking the protections        rights. There is therefore a dispute of material fact as to
of the Fourth Amendment." Cugini, 941 F.3d at 612             when Lee stopped resisting arrest, and in terms of pure
(citing Graham v. Connor, 490 U.S. 386, 394, 109 S. Ct.       summary judgment motion practice defendants' motion
1865, 104 L. Ed. 2d 443 (1989)). As a result, a pre-          must be denied.
conviction excessive force claim is subject to that
Amendment's objective "reasonableness" standard.              However, defendants wield a second argument in their
Cugini, 941 F.3d at 612. As an objective test, a court        attempt to secure summary judgment against Lee's
should disregard the "underlying intent or motivation" of     excessive force claims. In addition to arguing that Lee
the officers and avoid using "the 20/20 vision of             has failed to present sufficient evidence of excessive
hindsight." Id. (citing Graham, 490 U.S. at 396-97).          force on the merits, defendants also argue that they are
                                                              qualifiedly immune from suit for those claims.
That standard tasks courts with balancing "the nature
and quality of the intrusion on the individual's Fourth       At trial, it may be determined that they are. However, it
Amendment interests against the countervailing                is still too early to make that call. Assuming that a juror
governmental interests at stake." Cugini, 941 F.3d at         comes to the same conclusion outlined above and
612. According to the Supreme Court, that balancing           determines that Lee was restrained and compliant when
test looks "to the facts and circumstances of each            he was taken down, struck, and kneed, qualified
particular case," especially (1) "the severity of the crime   immunity would not attach to those facts. It is beyond
at issue"; [*26] (2) whether the arrestee poses an            clearly established that even if a suspect initially [*28]
immediate threat to the officer or passersby; and (3)         resists arrest, gratuitous force after resistance has
whether the arrestee is "actively resisting arrest or         stopped and compliance has been secured is
attempting to evade arrest by flight." Graham, 490 U.S.       unreasonable. Lennox v. Miller, 968 F.3d 150, 157 (2d
at 396. In any case, "the use of entirely gratuitous force    Cir. 2020) (noting that use of force against restrained
is unreasonable and therefore excessive[.]" Tracy, 623        arrestee who had previously resisted arrest is clearly
F.3d at 99 n.5.                                               established to be unreasonable).

It is true that defendants have argued and provided           As a consequence, no reasonable officers could
evidence that Lee continued to actively resist arrest         disagree as to whether defendants' use of force was
throughout the officers' use of force. See Jones Aff. ¶¶      reasonable if Lee had stopped resisting arrest before
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that force was used. Cugini, 941 F.3d at 615. Under           Lee's search and arrest during the March 3 incident
those assumed facts, defendants' use of force would           were unreasonable, but defendants argue that claim is
violate clearly-established law and thus not be entitled      foreclosed by Lee's guilty plea to charges stemming
to qualified immunity. Because a reasonable                   from the same altercation.
interpretation of the facts of this case could leave
defendants unprotected by qualified immunity, summary         In Heck v. Humphrey, the Supreme Court ruled that a
judgment cannot be granted in their favor for Lee's           plaintiff hoping to recover damages under § 1983 for an
excessive force claims based on the March 3 incident.         unconstitutional conviction or imprisonment "must prove
Lennox, 968 F.3d at 157 (affirming denial of summary          that the conviction or sentence has been reversed on
judgment on basis of qualified immunity because               direct appeal, expunged by executive order, declared
reasonable jury could conclude defendant officer used         invalid by a state tribunal . . ., or called into question by
significant force after plaintiff had ceased resisting        a federal court's issuance of a writ of habeas corpus[.]"
arrest).                                                      512 U.S. 477, 486-87, 114 S. Ct. 2364, 129 L. Ed. 2d
                                                              383 (1994).

2. State Law Assault and Battery.                             In so doing, the Heck Court carved out "an implicit
                                                              exception from § 1983's otherwise broad scope for
The Court turns next to Lee's state law assault and           actions that lie within the core of habeas corpus" relief.
battery claims stemming from the March 3 incident. That       Wilkinson v. Dotson, 544 U.S. 74, 79, 125 S. Ct. 1242,
analysis will look familiar, because "[e]xcept for § 1983's   161 L. Ed. 2d 253 (2005) (internal citations and
requirement that the [*29] tort be committed under color      quotation marks omitted). Functionally, then, Heck
of state law, the elements for a claim of assault and         precludes § 1983 plaintiffs from using that statute to
battery against law enforcement officers under New            collaterally attack a criminal conviction. Waller v. Smith,
York law and a claim of excessive force under § 1983          403 F. Supp. 3d 164, 169 (W.D.N.Y. 2019).
are the same." Boyler v. City of Lackawanna, 287 F.
Supp. 3d 308, 326 (W.D.N.Y. 2018) (internal citations         Of course, as is often the case with exceptions to rules
and quotation marks omitted). By extension, "[a] lawful       intended toward breadth, subsequent courts have
arrest is not an assault or battery under New York law,       limited Heck's scope. One crucial limitation is that Heck
provided the force used is reasonable." Figueroa v.           only bars a plaintiff if success on his § 1983 claim
Mazza, 825 F.3d 89, 105 n.13 (2d Cir. 2016).                  "would necessarily [*31] result in the nullification of his
                                                              conviction or the shortening of his confinement."
The Court's analysis in the preceding section makes the       McKithen v. Brown, 481 F.3d 89, 101 (2d Cir. 2007). For
outcome of defendants' motion to dismiss Count I              example, a § 1983 claim challenging a search that
straightforward, if not inevitable. The same standard         would, if invalidated, merely increase the likelihood that
applies to both claims, and the same dispute of fact that     a plaintiff would be able to overturn a conviction without
doomed defendants' motion on plaintiffs' excessive            commanding that the conviction be overturned is still
force claims in Count II similarly stops their motion short   viable notwithstanding Heck. Id. at 102.
on Count I. See Boyler, 287 F. Supp. 3d at 326. A
reasonable juror could conclude that Lee had stopped          Additionally, this Circuit recognizes a second exception
resisting arrest by the time the arresting officers used      that Heck cannot bar a claim if habeas corpus remedies
significant force against him, and so a jury must be          are not available. See Jenkins v. Haubert, 179 F.3d 19,
empaneled to resolve the question of when Lee stopped         27 (2d Cir. 1999) (holding that some federal remedy
resisting arrest and whether the officers' use of force       "must be available" and if habeas corpus is not, § 1983
was reasonable in any case. Defendants' motion as to          must be); Leather v. Eyck, 180 F.3d 420, 424 (2d Cir.
Count I must therefore be denied.                             1999) (same).

                                                              As defendants correctly argue, to whatever extent Lee
3. Section 1983: Unreasonable Search and Seizure              maintains an unreasonable search and seizure claim for
                                                              the March 3 incident,8 that claim is Heck-barred. If Lee
In addition to protecting citizens from the use of
excessive force prior to conviction, [*30] the Fourth
Amendment also prohibits "unreasonable searches and           8 Leemakes no effort to defend any such claim in his cross-
seizures." U.S. CONST. amend. IV. Plaintiffs claim that       motion. Because plaintiffs are counseled, the Court may "infer
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succeeds on his unreasonable search and seizure                       habeas corpus was available to Lee. Because he had
claim, the necessary implication would be that the                    access to that mechanism to challenge the legality of his
search and arrest which produced the marijuana,                       search and seizure on the night of March 3, § 1983 is
Hydrocodone/acetaminophen,      and    cocaine    was                 closed to him. To whatever extent plaintiffs seek to
unlawful. See Ashe Aff. ¶¶ 32-34. If that search were                 maintain an illegal search and seizure claim for Count II,
unlawful, those drugs would have been inadmissible as                 that claim must therefore be dismissed.
evidence in Lee's subsequent criminal proceedings. In
the absence of any evidence of Lee actually possessing
drugs on the night of March 3, his conviction for                     B. Plaintiffs' April 24, 2018 Claims.
criminal [*32] possession of a controlled substance
based on those events becomes more or less                            Both plaintiffs assert four claims arising from the April 24
impossible to justify.                                                incident: (1) unreasonable search and seizure in
                                                                      violation of the Fourth Amendment under § 1983; (2)
Similarly, if Lee's arrest on the night of March 3 were               excessive force in violation of the Fourth Amendment
unlawful, then the fruits of that arrest—once again, the              under § 1983; (3) assault and battery under New York
drugs on his person that night—would have been                        common law; and (4) retaliation for protected speech in
obtained unlawfully. Heck also prohibits the Court from               violation of the First Amendment under § 1983.
reaching that determination in a § 1983 claim. See, e.g.,             Defendants have moved for summary judgment in their
Covington v. City of New York, 171 F.3d 117, 123 (2d                  favor on each and all of these claims. Plaintiffs have
Cir. 1999) ("In a case where the only evidence for                    also moved for summary judgment in their favor on
conviction was obtained pursuant to an arrest, recovery               their [*34] unreasonable search and seizure claims.
in a civil case based on false arrest would necessarily
impugn any conviction resulting from use of that
evidence.").                                                          1. Section 1983: Unreasonable Search and Seizure.

In brief, then, a finding in this Court that Lee's arrest and         "The temporary detention of a person when the police
its resulting search were unreasonable would                          have stopped h[is] vehicle, regardless of its brevity or
necessarily require that his conviction be reversed.                  limited intrusiveness, constitutes a seizure for Fourth
McKithen, 481 F.3d at 101. Therefore, Lee's illegal                   Amendment purposes, and thus must not be
search and seizure claim for the March 3 incident is                  unreasonable." Gilles v. Repicky, 511 F.3d 239, 244-45
barred by Heck unless he can prove that conviction was                (2d Cir. 2007) (citing Whren v. United States, 517 U.S.
successfully challenged through some more appropriate                 806, 809-10, 116 S. Ct. 1769, 135 L. Ed. 2d 89 (1996)).
mechanism. But Lee has not provided any record
evidence that his conviction has since been                           A temporary detention amounts to a seizure within the
undermined, let alone reversed. Heck, 512 U.S. at 486-                meaning of the Fourth Amendment if "by means of
87; see DSMF ¶ 55 (noting that Lee never perfected                    physical force or show of authority" a police officer
appeal of guilty plea).                                               detains a plaintiff to the extent that "a reasonable person
                                                                      would have believed that he was not free to leave[.]"
Finally, Lee cannot contend that habeas corpus was not                Brown v. City of Oneonta, 221 F.3d 329, 340 (2d Cir.
available to him, [*33] because his sentence to three                 2000). For a seizure in the form of an investigatory stop
years' probation places him "in custody" for the                      to be reasonable, it must "be temporary and last no
purposes of habeas corpus. See 28 U.S.C. § 2254                       longer than is necessary to effectuate the purpose of the
(permitting district court to entertain writ of habeas                stop." Florida v. Royer, 460 U.S. 491, 500, 103 S. Ct.
corpus for "a person in custody pursuant to the                       1319, 75 L. Ed. 2d 229 (1983). Additionally, "the
judgment of a State court"); Earley v. Murray, 451 F.3d               investigative methods employed should be the least
71, 75 (2d Cir. 2006) ("Post-release supervision,                     intrusive means reasonably available to verify or dispel
admitting of the possibility of revocation and additional             the officer's suspicion in a short period of time." Id.
jail time, is considered to be 'custody.'"). Accordingly,
                                                                      Of course, implicit in a requirement that police efficiently
                                                                      grapple with their suspicion is that suspicion existed in
from [their] partial opposition that relevant claims . . . that are   the first place. To that end, the Supreme Court has
not defended have been abandoned." Jackson v. Fed.                    clarified that the Fourth Amendment is not disturbed by
Express, 766 F.3d 189, 198 (2d Cir. 2014). The Court will             a brief investigatory stop if the officers have reasonable
nevertheless assess this claim's merit.
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suspicion, but not necessarily [*35] full probable cause,        summary judgment.
that a person may be armed and dangerous. Terry v.
Ohio, 392 U.S. 1, 24-27, 88 S. Ct. 1868, 20 L. Ed. 2d            Getting to the heart of that dispute first requires the
889 (1968).                                                      Court to consider whether the information defendants
                                                                 relied on possessed sufficient indicia of reliability. United
Police officers have reasonable suspicion to justify an          States v. Elmore, 482 F.3d 172, 179 (2d Cir. 2007)
investigatory stop if there is "a reasonable basis to think      ("Reasonable suspicion may be based upon information
that the person to be detained is committing or has              from a confidential informant so long as the tip
committed a criminal offense." United States v.                  bears [*37] sufficient 'indicia of reliability.'") (citing
Singletary, 798 F.3d 55, 59 (2d Cir. 2015) (internal             Adams v. Williams, 407 U.S. 143, 147, 92 S. Ct. 1921,
citations and quotation marks omitted). As language like         32 L. Ed. 2d 612 (1972)). The indicia of reliability test
"a reasonable basis" suggests, reasonable suspicion is           considers the totality of the circumstances. See
not a high standard to meet. Id. at 59-60. Even so,              Alabama v. White, 496 U.S. 325, 328-29, 110 S. Ct.
police need to be able to point to more than a hunch. Id.        2412, 110 L. Ed. 2d 301 (1990) (holding that indicia of
at 59. Rather, a stop is only justified if the police can        reliability test applicable to probable cause applies to
point to "facts sufficient to give rise to a reasonable          reasonable suspicion inquiry but with less demanding
suspicion that criminal activity may be afoot." Id. at 60        standard). Among the relevant circumstances subject to
(emphasis in original) (internal citations and quotation         review are an informant's veracity, reliability, and basis
marks omitted).                                                  of knowledge. Id. at 328.

"[C]onduct that is as consistent with innocence as with          A truly anonymous tip by phone is often lacking in all
guilt may form the basis for an investigative stop where         three categories. See Florida v. J.L., 529 U.S. 266, 270-
there is some indication of possible illicit activity." United   74, 120 S. Ct. 1375, 146 L. Ed. 2d 254 (2000) (finding
States v. Padilla, 548 F.3d 179, 187 (2d Cir. 2008).             unsupported anonymous tip from phone call lacked
Courts use "commonsense judgments and inferences                 sufficient indicia of reliability to create reasonable
about human behavior" to parse out whether the                   suspicion). Further, the Supreme Court has rejected
conduct investigators observed sufficiently suggested            arguments that: (1) "a description of a particular person
illicit activity. Illinois v. Wardlow, 528 U.S. 119, 125, 120    at a particular location illegally carrying a concealed
S. Ct. 673, 145 L. Ed. 2d 570 (2000). Those                      firearm"; (2) prompt verification of all details of the tip
commonsense judgments consider "the totality of the              except for the existence of the firearm; and/or (3) a lack
circumstances through the eyes of a reasonable and               of any specific reason to doubt the tip's reliability, can
cautious police officer on the scene, whose [*36]                allow for reasonable suspicion. Id. at 271.
insights are necessarily guided by his experience and
training." Singletary, 798 F.3d at 60.                           Nevertheless, several circuit courts, including the
                                                                 Second Circuit, have held that "an anonymous 911 call
There can be little doubt that plaintiffs were seized            reporting an ongoing emergency is entitled to a higher
within the meaning of the Fourth Amendment during the            degree of reliability and requires a lesser showing of
April 24 incident. Plaintiffs were confronted by multiple        corroboration than a [*38] tip that alleges general
officers with weapons drawn, ordered out of their                criminality." United States v. Simmons, 560 F.3d 98, 105
vehicle, and handcuffed. DSMF ¶ 68; Lee Dep. 78. The             (2d Cir. 2009). Additionally, a face-to-face informant
Second Circuit has identified each of these as factors           must "be thought more reliable than an anonymous
indicating that a plaintiff was seized. See, e.g., Brown,        telephone tipster, [because] the former runs the greater
221 F.3d at 340 (listing factors of seizure including            risk that he may be held accountable if his information
presence of multiple officers, drawn weapons, physical           proves false." United States v. Salazar, 945 F.2d 47, 50-
touching of plaintiff, and tone indicating compliance was        51 (2d Cir. 1991).
compulsory).
                                                                 Even if a tip is lacking in indicia of reliability on its own,
By extension, the only possible question of disputed fact        police may nudge the inquiry toward reliability if they
is whether defendants' pair of anonymous tips and                corroborate some of the tip's details. See United States
observations about plaintiffs provided the officers on the       v. Bold, 19 F.3d 99, 102 (2d Cir. 1994) (citing White,
scene with reasonable suspicion that plaintiffs were             496 U.S. at 328-29). Even corroborating more innocent
committing a crime. Both parties contend that the                elements of the tip may serve to support the tipster's
question of reasonable suspicion can be answered on              overall reliability. United States v. Walker, 7 F.3d 26, 31
           Case 9:18-cv-00748-BKS-ATB Document 181 Filed 08/26/21 Page 17 of 29
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(2d Cir. 1993).                                                  First, plaintiffs argue that their car was silver and [*40]
                                                                 therefore did not match the tipsters' description of a gray
Plaintiffs first argue that the tips defendants relied on        car. Given the similarity of those two colors, that
lacked sufficient indicia of reliability. That argument          argument would be strained enough on its own, but
must be rejected. Without a doubt, a single anonymous            plaintiffs themselves use the terms "gray" and "silver"
911 call under these circumstances would have had a              interchangeably in describing the car. Compare
much harder time amounting to reasonable suspicion.              Kornegay Dep. 20 (describing car as silver), with Lee
Even James' in-person tip, while certainly more reliable         Dep. 74 (describing car as gray). In that light, any
than the anonymous one, would perhaps not have                   apparent discrepancy between the color of the car the
clearly answered reasonable suspicion on its own. But            tipster described and the color of the car plaintiffs were
although plaintiffs take a metaphorical sledgehammer to          actually in cashes out to a semantic distinction, not a
the reliability of either tipster standing alone, plaintiffs     factual one. By extension, the police saw two African
have little to say about how the two tips work in concert.       American males in a gray or silver car, which matches
                                                                 the informants' tips.
Nor is there much for plaintiffs to work with. The
weight [*39] of two independent reports of the same              Second, the informants both noted that the alleged
criminal conduct in the same area is difficult to shrug off.     robbers were in the area of Ida Street. DSMF ¶¶ 61-62.
Both tipsters claimed that two males with a gun were             Just as the tips described, the investigating officers
driving around downtown Troy after robbing someone.
                                                                 observed plaintiffs' gray or silver car near Ida Street. Id.
DSMF ¶¶ 61-62. Given the similarity of these two tips,           ¶ 63. The close proximity of plaintiffs' vehicle to the
no reasonable juror could conclude that defendants               tipsters' identified location is another important piece of
lacked reasonable suspicion that a crime was afoot on            the totality of the information defendants contend
April 24.9                                                       supported reasonable suspicion. See Bailey, 743 F.3d
                                                                 at 332 (noting that reasonable suspicion inquiry
Of course, even if the two tips together are sufficiently
                                                                 considers totality of circumstances).
reliable to support reasonable suspicion that a crime
was being committed, that does not answer plaintiffs'            Third, however, plaintiffs [*41] correctly note that the
argument that defendants lacked reasonable suspicion             911 call described plaintiffs' car as a Toyota, when it
that plaintiffs were the ones committing it. To plaintiffs'      was in fact a Nissan. Compare DSMF ¶ 62 (tipster
point, "a description of race and gender alone will rarely       describing car as Toyota), with Kornegay Dep. 20
provide reasonable suspicion justifying a police search          (Kornegay describing car as Nissan). Plaintiffs are
or seizure." Brown, 221 F.3d at 334.                             correct that this discrepancy cuts against defendants'
                                                                 reasonable suspicion. But it does not destroy it. As the
To hear plaintiffs tell it, the only distinguishing
                                                                 Second Circuit has noted, a minor discrepancy between
characteristics supporting the stop were that plaintiffs
                                                                 a tip and the scene observed by the officers does not by
were two African American men in a car. As a result,
                                                                 itself invalidate reasonable suspicion. Dancy v.
plaintiffs posit that defendants could not possibly have
                                                                 McGinley, 843 F.3d 93, 109 (2d Cir. 2016). In particular,
had reasonable suspicion to stop them. But plaintiffs'
                                                                 it can often be difficult to tell the brand of a car from a
argument goes too far. In fact, there were several more
                                                                 distance, and a mistake by either the officers or the
details at the officers' disposal.
                                                                 anonymous tipster as to that detail is not enough to end
                                                                 the reasonable suspicion inquiry in plaintiffs' favor.

9 To  whatever extent it is unclear which officers knew that     All together, when defendants stopped plaintiffs' car,
there were two tips, that question is irrelevant. Under the      their articulable basis for the stop was that plaintiffs
collective or imputed knowledge doctrine, "an arrest or search   were two African American males in a silver or gray car
is permissible where the actual arresting or searching officer   in the immediate area of a crime identified by two tips by
lacks the specific information to form the basis for probable    two distinct tipsters. Although a far cry from the purely
cause or reasonable suspicion but sufficient information to      race-conscious stop plaintiffs identify, plaintiffs are
justify the arrest or search was known by other law              correct that some courts outside of this Circuit have
enforcement officials initiating or involved with the            found somewhat similar facts to be insufficient to
investigation." United States v. Colon, 250 F.3d 130, 135 (2d    support reasonable [*42] suspicion.
Cir. 2001). As a consequence, every officer investigating the
April 24 incident is imputed to have knowledge of both the       For example, plaintiffs cite United States v. Jones, 998
substance and existence of the two tips.
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F.2d 883, 885 (10th Cir. 1993). In that case, the Tenth         American men in a gray or silver car in the area. This
Circuit found reasonable suspicion lacking where police         corroboration was enough to afford the investigating
stopped two African American men in a black Mercedes            officers reasonable suspicion to stop plaintiffs as a
based only on a report of a similar car carrying two            matter of law.10
African American men away from a nearby disturbance
involving a firearm. Id.                                        Similarly, defendants did not hold plaintiffs any longer
                                                                than was necessary to confirm that, if there ever was
Yet there are two significant reasons that Jones's shoe         truly a robbery and threatened homicide on April 24,
does not fit this case. First, the Tenth Circuit specifically   2018, plaintiffs were not the culprits. At most, plaintiffs
noted several reasons that the Mercedes the officers            estimate that their interactions with police lasted about
stopped in Jones was exceedingly unlikely to be the             twenty minutes. DSMF ¶ 75. During that time, the
robbers' vehicle. Specifically, the Tenth Circuit found         officers on the scene searched plaintiffs' car and
reasonable suspicion lacking because the officers were          questioned them as to the potential robbery. Id. ¶¶ 70,
aware that there was also a child in the car at the time        74; Kornegay Dep. 28. Once that search and
they made the stop, and the report made no mention of           questioning concluded, plaintiffs were allowed on their
a child being involved in the disturbance. Id.                  way. DSMF ¶ 75. In the shadow of the investigating
Additionally, the car was spotted pulling into a parking        officers' active belief that potential violence was
space at a grocery store which could only be reached            imminent, they acted proportionately to those concerns
from the scene of the disturbance by a circuitous route.        and their reasonable suspicion.
Id. The car was also heading in the wrong direction to
have come from the disturbance. Id. Each of these facts         In summary, Troy police officers had reasonable
severely undercut the investigating officers' ability to        suspicion to stop plaintiffs on April 24, 2018 as a
develop reasonable suspicion, and no similarly                  matter [*45] of law. The officers had a pair of reports of
undermining facts appear [*43] on this record other             ongoing criminal activity featuring a threat of imminent
than the discrepancy between plaintiffs' car being a            violence. Those reports described a similar scene to the
Toyota or a Nissan. DSMF ¶ 62; Kornegay Dep. 20                 one the investigating officers found when they observed
                                                                plaintiffs in their car. The officers stopped plaintiffs,
But the second distinction between this case and Jones          handcuffed them long enough to search their vehicle,
is still more significant. Unlike in Jones, in this case the    and then released them.
investigating officers believed from the anonymous
tipster that the culprits of the robbery were not only          Those facts are undisputed, and considering the totality
armed but were actively threatening to kill someone.            of the circumstances they present, no reasonable juror
DSMF ¶ 62. At this point, plaintiffs might renew their          could conclude that plaintiffs' Fourth Amendment
objection to the reliability of the anonymous tipster, but it   protections against unlawful searches and seizures
bears repeating that the close similarity between the           were violated during the April 24 incident. Those claims
anonymous caller's tip and James's provides strong              must therefore be dismissed. See, e.g., Grice v.
additional credibility to even the anonymous tipsters'          McVeigh, 873 F.3d 162, 168 (2d Cir. 2017) (dismissing
report. In that light, the police justifiably credited the      complaint against officer who stopped and handcuffed
anonymous tip's invocation of an emergency.

Applying the filter of an active, life-threatening
                                                                10 Although   plaintiffs do not raise the issue, it bears mentioning
emergency recolors plaintiffs' stop from one closer to
the gray area of legality to one safely within the Fourth       that plaintiffs' being handcuffed did not convert the stop into an
                                                                arrest requiring full probable cause. Although handcuffing a
Amendment's confines. According to the Second Circuit,
                                                                suspect during a Terry stop often ripens that stop to an arrest,
the requirement that police corroborate the accuracy of
                                                                officers may nevertheless handcuff a suspect during the
a tip weakens when the police are aware of facts
                                                                course of a stop if handcuffing is "a reasonable response to
indicating that swift action is required to prevent             legitimate safety concerns on the part of the investigating
violence. United States v. Simmons, 560 F.3d 98, 107-           officers." United States v. Vargas, 369 F.3d 98, 102 (2d Cir.
108 (2d Cir. 2009). The circumstances confronting the           2004). In this case, the investigating officers had credible
investigating officer [*44] comfortably fits Simmons' bill.     reports that the suspects they were investigating were armed,
Id. The officers arrived at a scene where a homicide            dangerous, and potentially about to commit a murder. The
was reportedly imminent and corroborated the innocent           officers justifiably determined that for their own safety,
details of the tips that there would be two African             plaintiffs should be cuffed until they assessed whether
                                                                plaintiffs posed a threat.
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plaintiff for thirty-three minutes based on report of             question of fact as to whether the force the officers used
person matching plaintiff's description bending down              was reasonable under the circumstances. Cugini, 941
with remote device intending to sabotage railroad                 F.3d at 613.
because officer had reasonable suspicion plaintiff was
dangerous).                                                       Defendants have met that burden. Plaintiffs' only
                                                                  argument is that it was unnecessary to handcuff them
                                                                  and place them in squad cars during the duration of the
2. Section 1983: Excessive Force.                                 search of their vehicle. But even viewing the facts in the
                                                                  light most favorable to plaintiffs, it is impossible to
Defendants also seem to argue that plaintiffs' excessive          imagine a factfinder concluding that it was unreasonable
force claims arising from the April 24, 2018 incident are         for police to handcuff men that they believed, based on
unsupported by the evidence. The only force the record            two separate reports, were armed, had just committed a
alludes to the police using on that day was their                 robbery, and potentially were preparing to kill someone.
handcuffing plaintiffs.11                                         DSMF ¶¶ 61-62.

In reviewing [*46] the reasonableness of an officer's             Plaintiffs have admitted that those pieces of information
decision to handcuff during an arrest or stop, the                had reached Troy police both through a confidential
Second Circuit instructed in Cugini that courts consider          informant and through James, who approached some
"whether an officer reasonably should have known                  officers in person. DSMF ¶¶ 61-62. Plaintiffs' argument
during handcuffing that his use of force was excessive."          that the police should have simply left them unrestrained
941 F.3d at 613. "A plaintiff satisfies this requirement if       before even confirming whether they were actively
either the unreasonableness of the force used was                 armed or dangerous cannot carry enough water to
apparent under the circumstances, or the plaintiff                convince a reasonable juror that defendants'
signaled h[is] distress, verbally or otherwise, such that a       handcuffing plaintiffs was unreasonable.
reasonable officer would have been aware of h[is] pain,
or both." Id.                                                     Plaintiffs still try to preserve these claims by arguing
                                                                  that, [*48] if a reasonable jury could have concluded
In handing down that ruling, the Second Circuit                   that defendants lacked reasonable suspicion to enact
seemingly approved three factors used by lower courts             the traffic stop in the first place, any use of force at all
to assess the reasonableness of a police officer's use of         would have been unreasonable. See Mejia v. City of
handcuffs: (1) whether the handcuffs were unreasonably            New York, 119 F. Supp. 2d 232, 282 (E.D.N.Y. 2000)
tight; (2) the defendants' ignoring the arrestee's pleas          ("[W]here arresting officers do not even have an
that the handcuffs were too tight; and (3) the degree of          objectively reasonable belief that probable cause exists
injury to the arrestee's wrists. Esmont v. City of New            . . . any use of force would be objectively unreasonable
York, 371 F. Supp. 2d 202, 215 (E.D.N.Y. 2005). Of                under the circumstances.") (citation omitted).
course, after Cugini, those factors are only useful to
help      contextualize    the    Circuit's   controlling         Even setting aside the Court's ruling that no reasonable
reasonableness test. See 941 F.3d at 612-13.                      juror could come to that conclusion in the previous
                                                                  section, plaintiffs' argument is still meritless. Contrary to
Nowhere do plaintiffs argue that they communicated any            plaintiffs' arguments, under controlling Second Circuit
distress from being handcuffed at any point to any                caselaw there is no per se rule that a lack of suspicion
officer during the April 24 stop. Thus, defendants are            means any force at all is excessive. See Papineau v.
entitled to summary judgment [*47] on plaintiffs'                 Parmley, 465 F.3d 46, 62 (2d Cir. 2006) ("[T]he
excessive force claims if they can prove that there is no         reasonableness test . . . remains the applicable test for
                                                                  determining when excessive force has been used,
                                                                  including those cases where officers allegedly lack
11 To whatever extent plaintiffs may argue that the officers'     probable cause to arrest."). Plaintiffs must therefore
approaching them with guns drawn constituted excessive            prove that defendants' act of handcuffing plaintiffs was
force, this Court joins several others in the Second Circuit in   unreasonable under the circumstances defendants
holding that "merely drawing weapons when effectuating an         faced.
arrest does not constitute excessive force as a matter of law."
Podlach v. Vill. of Southampton, 2017 U.S. Dist. LEXIS 73047,     Because no reasonable juror could conclude that
2017 WL 4350433, at *3 (E.D.N.Y. May 11, 2017) (collecting        handcuffing plaintiffs while the investigating officers
cases).
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ensured they were not armed and dangerous [*49] was            The closest plaintiffs come to identifying speech
excessive, plaintiffs' excessive force claims for the April    protected by the First Amendment is Lee requesting a
24 incident must be dismissed. See, e.g., Williams v.          complaint form about the March 3 incident. Lee Dep. 90.
City of New York, 2019 WL 11318049, at *7 (E.D.N.Y.            Of course, if Lee had followed through and submitted a
May 30, 2019) (dismissing excessive force claim where          complaint form, the question would become much more
plaintiff was handcuffed during fruitless search for           complicated, and its answer much more likely to be
weapons because use of force was reasonable).                  favorable to plaintiffs. But he admits that he never
Therefore, all of plaintiffs' claims under Counts IV and       actually filed the complaint. Id.; DSMF ¶ 58. In the
VII must be dismissed.                                         absence of Lee actually speaking, his First Amendment
                                                               complaint loses its substance.

3. State Law Assault and Battery.                              Because neither [*51] plaintiff has presented any
                                                               evidence that they ever engaged in protected speech
For the same reasons discussed above for plaintiffs'           that could have caused defendants to retaliate against
excessive force claims under § 1983, plaintiffs' state law     them, Counts V and VIII must be dismissed. Lilly v.
assault and battery claims under Counts III and VI must        Town of Lewiston, 449 F. Supp. 3d 190, 196, 202-03
also be dismissed. See Boyler, 287 F. Supp. 3d at 326          (W.D.N.Y. 2020) (dismissing First Amendment
(noting that reasonableness analysis for state law             retaliation claim for ten-to-fifteen minute traffic stop
assault and battery claims by arresting officer are same       where plaintiff failed to identify protected speech).
as for § 1983 claims).

                                                               V. CONCLUSION
4. Section 1983: Retaliation.
                                                               The Court understands plaintiffs' skepticism concerning
Finally, the Court turns to plaintiffs' retaliation claims.    the April 24 incident. Only a month and a half month
"To plead a First Amendment retaliation claim a plaintiff      earlier, Lee had a dramatic altercation with police which
must show: (1) he has a right protected by the First           could reasonably have involved their use of excessive
Amendment; (2) the defendant's actions were motivated          force against him. That a car he and his grandson
or substantially caused by his exercise of that right; and     occupied got stopped by the same police department so
(3) the defendant's actions caused him some injury."           soon afterwards would justifiably trigger some concerns
Dorsett v. Cty. of Nassau, 732 F.3d 157, 160 (2d Cir.          that Lee was being singled out. Even so, at the close of
2013). "[T]he First Amendment protects a significant           discovery, plaintiffs managed to uncover no evidence
amount of verbal criticism and challenge directed at           that the April 24 incident was anything more than a
police officers." City of Houston v. Hill, 482 U.S. 451,       legitimate emergency stop involving plaintiffs only by
461, 107 S. Ct. 2502, 96 L. Ed. 2d 398 (1987).                 coincidence. All claims concerning that incident must
                                                               therefore be dismissed.
For fairly obvious reasons, plaintiffs do not defend their
retaliation claims in their cross-motion and [*50]             But the March 3 incident is different. Reasonable minds
opposition. There can be no doubt that Lee has a First         could differ as to what happened on that night. Perhaps
Amendment right to criticize Ashe, Jones, Parker, and          Lee was dangerously resisting arrest and all force used
Perfetti for their use of force during the March 3 incident.   was necessary to earn his compliance. Perhaps [*52]
Hill, 482 U.S. at 461. However, plaintiffs still bear the      the officers used more force than the circumstances
burden of proving at trial that defendants' actions were       called for. In either case, that question cannot be
motivated or caused by plaintiffs' exercise of that right.     answered by this Court, but only by a jury. The parties
That obstacle proves too much for plaintiffs to clear.         must therefore proceed to trial on Counts I and II.

                                                               Therefore, it is
Nowhere in the complaint or the record do plaintiffs
suggest that they ever actually exercised any First            ORDERED THAT
Amendment right that caused defendants to retaliate               1. Defendants' Motion for Summary Judgment is
against them. In fact, there is no evidence before the            GRANTED IN PART and DENIED IN PART;
Court that Kornegay ever spoke to a police officer at all         2. Plaintiffs' Cross-Motion for Summary Judgment is
prior to the April 24 incident, let alone engaged in a            DENIED;
protected First Amendment criticism.
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    3. Counts: (III) assault and battery under the New
    York Common Law by plaintiff Lamont Lee for the
    April 24 incident; (IV) excessive force and
    unreasonable search and seizure in violation of the
    Fourth Amendment under 42 U.S.C. § 1983 by
    plaintiff Lamont Lee for the April 24 incident; (V)
    retaliation in violation of the First Amendment under
    42 U.S.C. § 1983 by plaintiff Lamont Lee for the
    April 24 incident; (VI) assault and battery under the
    New York common law by plaintiff Tymel Kornegay
    for the April 24 incident; (VII) excessive force and
    unreasonable search and seizure in violation of the
    Fourth Amendment under 42 U.S.C. § 1983 by
    plaintiff Tymel Kornegay for the April 24 incident;
    and (VIII) retaliation in violation of the First
    Amendment under 42 U.S.C. § 1983 by plaintiff
    Tymel Kornegay for the April 24 incident are
    DISMISSED;

    4. Plaintiff Lamont Lee's Count II claim for
    unreasonable search and seizure in violation of the
    Fourth Amendment under [*53] 42 U.S.C. § 1983
    for the March 3 incident is DISMISSED;
    5. Plaintiff Tymel Kornegay is DISMISSED;
    6. Defendants patrolman "John" Morris and
    sergeant "John" Barker are DISMISSED;

    7. Defendants' motion for summary judgment
    against plaintiff Lamont Lee's claims for the March
    3 incident under counts: (I) assault and battery
    under the New York common law; and (II)
    excessive force in violation of the Fourth
    Amendment under 42 U.S.C. § 1983 is DENIED.

IT IS SO ORDERED.

Dated: February 16, 2021

Utica, New York.

/s/ David N. Hurd

David N. Hurd

U.S. District Judge


  End of Document
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                                    McCaskill v. Shoprite Supermarket
                             United States District Court for the Northern District of New York
                                    January 30, 2015, Decided; January 30, 2015, Filed
                                                  7:13-CV-00238 (BKS/ATB)

Reporter
2015 U.S. Dist. LEXIS 11555 *; 2015 WL 419658
                                                                   motion for summary judgment ("Def. MSJ"). (Dkt. No.
MATTHEW MCCASKILL, Plaintiff, v. SHOPRITE
                                                                   76). For the reasons that follow, the motion is granted.
SUPERMARKET, Defendant.1

Prior History: McCaskill v. Shoprite Supermarket, 2013
                                                                   II. BACKGROUND
U.S. Dist. LEXIS 111543 (N.D.N.Y, Aug. 7, 2013)

Counsel: [*1] Matthew McCaskill, Plaintiff, Pro se,
                                                                   A. Facts
Malone, NY.
For ShopRite Supermarket, Defendant: Mark Diana and
Jennifer A. Rygiel-Boyd Ogletree, Deakins Nash,                    1. The Record Before the Court
Smoak & Stewart, P.C., New York, New York; Edward
Cerasia, II, Cerasia & Del Rey-Cone LLP, New York,                 In support of its motion for summary judgment, SRS
NY.                                                                submitted a statement pursuant to Local Rule 7.1(a)(3)
                                                                   containing nineteen statements of fact, and each fact is
Judges: Brenda K. Sannes, United States District                   properly supported [*2] by citations to the record, which
Judge.                                                             includes sworn statements from two of its employees,
                                                                   related exhibits, and excerpts from plaintiff's deposition
Opinion by: Brenda K. Sannes                                       testimony. See Defendant's Statement of Material
                                                                   Undisputed Facts Submitted In Accordance with Local
Opinion                                                            Rule 7.1(a)(3), Dkt. No. 76-2 ("Def. SMF"). SRS
                                                                   complied with Local Rule 56.2 by providing plaintiff with
                                                                   the requisite notice of the requirements of Local Rule
                                                                   7.1(a) for a proper response to a summary judgment
MEMORANDUM-DECISION AND ORDER                                      motion and the consequences of failing to submit a
                                                                   proper response. (Dkt. No. 76-1).

I. INTRODUCTION                                                    Plaintiff submitted a response to the summary judgment
                                                                   motion in which he disputed, in whole or in part,
Plaintiff pro se Matthew McCaskill brings this action              defendant's statements 1, 2, 4-6, 8-14, and 17-19;
against defendant ShopRite Supermarket ("SRS")                     asserted a number of facts to the contrary; and annexed
alleging that SRS wrongfully terminated his employment             an unreferenced assortment of purported "Exhibits."
because of his race in violation of Title VII of the Civil         See Plaintiff's Response to Defendant's Statement of
Rights Act of 1964, 42 U.S.C. §§ 2000e to 2000e-17                 Material Facts, Dkt. No. 77 ("Pl. Response"). However,
("Title VII"). (Dkt. No. 1).2 Before the Court is SRS's            plaintiff neither cited any evidence in the record to
                                                                   support his assertions, as required by L.R. 7.1(a)(3), nor
                                                                   submitted any relevant evidence in admissible form in
1 Dominic Ausiano was named as a party in the complaint but        opposition to SRS's motion. See Fed. R. Civ. P.
was subsequently dismissed. (Dkt. No. 9, p. 3; Dkt. No. 47, p.     56(c)(1)(A); N.D.N.Y. L.R. 7.1(a)(3) (defining the record
1 n.1). The Court has amended the caption accordingly.             for purposes of the statement of material facts as
2 While the complaint also alleges sex discrimination, plaintiff   including the pleadings, depositions, answers to
has admitted that he did not intend to assert a claim based on     interrogatories, admissions [*3] and affidavits). While
sex discrimination and that his only claim is based upon race.     the Court is cognizant of the challenges faced when
(Dkt. No. 76-9 ("McCaskill Dep."), pp. 25-26).                     proceeding pro se, plaintiff has entirely failed to dispute
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defendant's facts based on admissible record evidence.             New [*5] York. (Def. SMF, ¶ 1). Plaintiff is an African-
                                                                   American. (McCaskill Dep., p. 28). Dominic Ausanio
Under such one-sided circumstances, the Court may                  was the Store Director of the Albany ShopRite and was
accept defendant's statement of facts as true where                involved in the hiring of employees. (Ausanio Cert., ¶¶
appropriate and supported by the record.3 Nonetheless,             2,4). Since the Albany store was not yet open when
while a court "is not required to consider what the                plaintiff's employment began, he was trained at the
parties fail to point out," the court may also in its              Niskayuna, Hudson, and Kingston stores. (Def. SMF, ¶
discretion opt to conduct "an assiduous review of the              7). In late March or early April of 2012, Mr. Ausanio
record" even where a party fails to properly respond to            "received negative feedback about [plaintiff's] job
the moving party's statement of material facts. Holtz v.           performance from the training teams." (Ausanio Cert., ¶
Rockefeller & Co., 258 F.3d 62, 73 (2d Cir. 2001).                 7). Specifically, Mr. Ausanio was notified that plaintiff
Accordingly, the facts set forth below are drawn from              "was having trouble understanding how to tag prices
defendant's Statement of Facts,4 and also the following:           and place items in the correct location on the shelves."
Certification of Dominic Ausanio, Dkt. No. 76-4                    (Id.). Mr. Ausanio also personally observed that
("Ausanio Cert."); Certification of Shannon DeFreese,              "[de]spite being trained in professional customer
Dkt. No. 76-5 ("DeFreese Cert."); Plaintiff's Complaint            relations, [plaintiff] did not greet customers and did not
("Compl."); and available excerpts of Plaintiff's                  ask customers if they needed help." (Id., ¶ 8).
deposition, Dkt. No. 76-9 ("McCaskill Dep.").5
                                                                   On March 23, 2012, Melissa Stiles, a ShopRite cashier,
                                                                   reported that plaintiff was sexually harassing her.
2. Plaintiff's Employment at SRS                                   (DeFreese Cert., ¶ 4). Ms. Stiles stated that plaintiff
                                                                   "constantly called her phone and touched her" and also
On or about February 2, 2012, defendant SRS hired                  "threatened her." (Id.). On March 30, 2012, SRS Human
plaintiff to work as a part-time frozen food clerk during          Resource         Coordinator       Shannon        DeFreese
the overnight shift at a new ShopRite store in Albany,             interviewed [*6] Ms. Stiles. (Id., ¶ 5). Ms. Stiles reported
                                                                   that plaintiff repeatedly "described the sexual things he
                                                                   wanted to do her," stared at her, and "touched her near
3 See   Champion v. Artuz, 76 F.3d 483, 485 (2d Cir. 1996)         her breast while she was working," despite her rejection
(Even pro se litigants "should be on notice from the very          of his advances. (Id., ¶ 5). Ms. Stiles also stated that
publication of Rule 56(e) that a party faced with a summary        plaintiff threatened her and that she was scared to go to
judgment motion may not rest upon the mere allegations or          work because of him. (Id., ¶¶ 6-8). In early April 2012,
denials of the party's pleading and that if the party does [*4]
                                                                   Ms. DeFreese informed Mr. Ausanio that plaintiff had
not respond properly, summary judgment, if appropriate, shall
                                                                   violated SRS's policies concerning harassment and
be entered against him.") (quoting Graham v. Lewinski, 848
                                                                   threats of violence. (Ausanio Cert., ¶ 9; DeFreese Cert.,
F.2d 342, 344 (2d Cir. 1988)); Riehl v. Martin, No. 13-CV-439,
2013 U.S. Dist. LEXIS 186610, at *12, 2014 WL 1289601, at          ¶ 9).6
*5 (N.D.N.Y Dec. 19, 2013) ("Where, as here, a party has
failed to respond to the movant's statement of material facts in
the manner required under N.D.N.Y. L.R. 7.1(a)(3), the facts in    3. Plaintiff's Termination
the movant's statement will be accepted as true (1) to the
extent they are supported by evidence in the record, and (2)       Based on plaintiff's violation of SRS's policies
the nonmovant, if proceeding pro se, has been specifically         concerning harassment and threats of violence, and the
advised of the possible consequences of failing to respond to      negative feedback regarding his job performance,
the motion.").                                                     plaintiff's employment was terminated on or about April
4 Citationsto Defendant's Statement of Facts incorporate by        12, 2012. (Def. SMF, ¶¶ 14, 16). Plaintiff was working at
reference the documents cited therein. All citations to the        the Albany store at the time. (McCaskill Dep., p. 9). Mr.
parties' submissions reference the page numbers generated          Ausanio informed plaintiff [*7] that "it wasn't working
and marked by the Electronic Case Filing system.                   out," and he "wasn't a good fit for the company."

5 Although   the unsupported factual assertions contained in
Plaintiff's Response to Defendant's Statement of Material          6 In his unsworn response to the summary judgment motion
Facts (Dkt. No. 77) and Sur-Reply (Dkt. No. 79) do not comply      plaintiff denies that he engaged in any sexual harassment or
with Fed. R. Civ. P. 56(c), the Court has referenced the           threatening behavior towards Ms. Stiles; plaintiff states that
unsworn allegations therein where necessary for a full             they were having a consensual sexual relationship outside of
discussion.                                                        work. (Pl. Response, ¶¶ 11-14).
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(Ausanio Cert., ¶11).                                          demonstrating "the absence of a genuine issue of
                                                               material fact." Celotex, 477 U.S. at 323. A fact is
On April 18, 2012, plaintiff filed a complaint with the        "material" if it "might affect the outcome of the suit under
New York State Division of Human Rights, alleging that         the governing law," and is genuinely in dispute "if the
SRS had discriminated against him by terminating his           evidence is such that a reasonable jury could return a
employment on account of his race or color. (Def. MSJ          verdict for the nonmoving party." Anderson, 477 U.S. at
Exh. A, Dkt. No. 76-7, p. 2). Plaintiff also alleged that      248; see also Jeffreys v. City of New York, 426 F.3d
Caucasian employees were treated more favorably.               549, 553 (2d Cir. 2005) (citing Anderson). The movant
(Id.). Plaintiff's Human Rights complaint was dismissed        may meet this burden by showing that the nonmoving
on October 18, 2012, with a finding that plaintiff was         party has [*9] "fail[ed] to make a showing sufficient to
terminated because of unsatisfactory job performance           establish the existence of an element essential to that
and not his race. (Def. MSJ Exh. B, Dkt. No. 76-8, pp. 2-      party's case, and on which that party will bear the
3).                                                            burden of proof at trial." Celotex, 477 U.S. at 322; see
                                                               also Selevan v. N.Y. Thruway Auth., 711 F.3d 253, 256
                                                               (2d Cir. 2013) (summary judgment appropriate where
B. Procedural History                                          the nonmoving party fails to "come forth with evidence
                                                               sufficient to permit a reasonable juror to return a verdict
Plaintiff commenced this action on March 4, 2013,
                                                               in his or her favor on an essential element of a claim")
alleging employment discrimination under Title VII, as
                                                               (internal quotation marks omitted).
well as defamation and intentional infliction of emotional
distress under New York state law against SRS and the
                                                               If the moving party meets this burden, the nonmoving
Albany Store Director, Dominic Ausanio. (Compl., Dkt.
                                                               party must "set forth specific facts showing a genuine
No. 1). Defendants SRS and Ausanio filed a pre-answer
                                                               issue for trial." Anderson, 477 U.S. at 248; see also
motion to dismiss plaintiff's state law claims (Dkt. No.
                                                               Celotex, 477 U.S. at 323-24; Wright v. Goord, 554 F.3d
22), which was granted, leaving only the Title VII claim
                                                               255, 266 (2d Cir. 2009). The nonmoving party "must do
against SRS. (Dkt. No. 47).7 Plaintiff filed a Notice of       more than simply show that there is some metaphysical
Appeal regarding the decision (Dkt. No. [*8] 55), which        doubt as to the material facts," Matsushita Elec. Indus.
the Court of Appeals for the Second Circuit dismissed          Co. v. Zenith Radio Corp., 475 U.S. 574, 586, 106 S. Ct.
sua sponte for lack of jurisdiction. (Dkt. No. 66). SRS        1348, 89 L. Ed. 2d 538 (1986), and cannot rely on "mere
moved for summary judgment on May 16, 2014 (Dkt.               speculation or conjecture as to the true nature of the
No. 76), and that motion is currently pending before the       facts to overcome a motion for summary judgment."
Court.8                                                        Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 12 (2d Cir.1986)
                                                               (quoting Quarles v. Gen. Motors Corp., 758 F.2d 839,
                                                               840 (2d Cir. 1985)). Furthermore, "[m]ere conclusory
III. STANDARD OF REVIEW                                        allegations or denials cannot by themselves create a
                                                               genuine issue of material fact where none would
Under Federal Rule of Civil Procedure 56(a), summary           otherwise exist." Hicks v. Baines, 593 F.3d 159, 166 (2d
judgment may be granted only if all the submissions            Cir. 2010) (quoting Fletcher v. Atex, Inc., 68 F.3d 1451,
taken together "show that there is no genuine issue as         1456 (2d Cir. 1995) (internal quotation marks and
to any material fact and that the moving party is entitled     citations omitted)).
to judgment as a matter of law." Celotex Corp. v.
Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548, 91 L. Ed.         "When ruling on a summary judgment motion, the
2d 265 (1986); see also Anderson v. Liberty Lobby, Inc.,       district court must construe the facts in the light most
477 U.S. 242, 247-48, 106 S. Ct. 2505, 91 L. Ed. 2d 202        favorable to the non-moving party and must resolve all
(1986). The moving party bears the initial burden of           ambiguities [*10] and draw all reasonable inferences
                                                               against the movant." Dallas Aerospace, Inc. v. CIS Air
                                                               Corp., 352 F.3d 775, 780 (2d Cir. 2003). Moreover,
7 Plaintiff's Title VII claim against Ausiano was previously   where plaintiff proceeds pro se, the Court must read his
dismissed sua sponte because Title VII does not provide for    submissions liberally and interpret them "to raise the
individual liability. (Dkt. Nos. 9, 47 at n.1).                strongest arguments that they suggest." McPherson v.
8 This                                                         Coombe, 174 F.3d 276, 280 (2d Cir. 1999) (quoting
      matter was reassigned to the undersigned by Order of
Chief Judge Gary L. Sharpe on December 29, 2014. (Dkt. No.     Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1994)).
85).                                                           However, a pro se party's "'bald assertion,' completely
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unsupported by evidence, is not sufficient to overcome a         plaintiff "must be afforded the opportunity to prove by a
motion for summary judgment." Jordan v. New York,                preponderance of the evidence that the legitimate
773 F. Supp. 2d 255, 268 (N.D.N.Y 2010) (citing Carey            reasons offered by the defendant were not its true
v. Crescenzi, 923 F.2d 18, 21 (2d Cir. 1991)); see also          reasons but were a pretext for discrimination." Reeves,
Wagner v. Swarts, 827 F. Supp. 2d 85, 92 (N.D.N.Y                530 U.S. at 143 (emphasis added). The Court will
2011).                                                           consider whether plaintiff has satisfied each part of the
                                                                 test, in turn. [*12]

IV. DISCUSSION
                                                                 A. Plaintiff's Prima Facie Case of Discrimination
Defendant SRS contends that it is entitled to judgment
as a matter of law on plaintiff's Title VII employment           It is undisputed that plaintiff, an African-American, is a
discrimination claims because there is no evidence to            member of a protected class. (McCaskill Dep., p. 28). It
support a reasonable inference that SRS discriminated            is also undisputed that plaintiff suffered an adverse
against plaintiff because of his race. See Defendant's           employment decision or action in that his employment
Brief in Support of Its Motion for Summary Judgment,             was terminated. (Def. SMF, ¶¶ 15-16; see also Pl.
Dkt. No. 76-3, p. 16. Title VII states that it is unlawful for   Response, ¶¶ 15-16). Plaintiff thereby satisfies the first
an employer "to discharge any individual, or otherwise           and third requirements for a prima facie case. In order to
to discriminate against any individual...because of such         meet the second requirement, plaintiff must show that
individual's race, color, sex, or national origin." 42           he was performing his duties satisfactorily at the time of
U.S.C. §2000e-2(a)(1) (2014). In order to survive a              his termination. Jaiyeola v. Carrier Corp., 562 F. Supp.
motion for summary judgment, a Title VII plaintiff must          2d 384, 388-389 (N.D.N.Y 2008) (citing Farias v.
satisfy the three-part burden-shifting test set forth by the     Instructional Sys., 259 F.3d 91, 98 (2d Cir. 2001)).
Supreme Court in McDonnell Douglas Corp. v. Green.               Plaintiff alleges that SRS management "never said
411 U.S. 792, 802, 93 S. Ct. 1817, 36 L. Ed. 2d 668              anything bad about my work performance," and that one
(1973); see also Reeves v. Sanderson Plumbing Prods.,            employee told plaintiff that he "was doing a good job."
530 U.S. 133, 142-43, 120 S. Ct. 2097, 147 L. Ed. 2d             (Compl., ¶ 8). SRS meanwhile contends that plaintiff
105 (2000).                                                      "was having trouble understanding how to tag prices
                                                                 and place items in the correct location on the shelves,"
Plaintiff must first establish a prima facie case of             and "was not greeting customers and did not ask
discrimination [*11] by showing that: (1) he is a member         customers if they needed his help." (Def. SMF, ¶¶ 9-10).
of a protected class; (2) he was qualified for the position      For purposes of this Court's decision, however, it is
he held; (3) he suffered an adverse employment action;           immaterial whether plaintiff can factually establish
and (4) the adverse action took place under                      satisfactory job performance because he is unable to
circumstances giving rise to the inference of                    meet the fourth requirement for a [*13] prima facie
discrimination. Ruiz v. County of Rockland, 609 F.3d             case—that his termination took place under
486, 491-492 (2d Cir. 2010). Plaintiff's burden of proof is      circumstances giving rise to an inference of
de minimis at this stage. Weinstock v. Columbia Univ.,           discrimination.
224 F.3d 33, 42 (2d Cir. 2000).
                                                                 Plaintiff did not articulate any facts which would support
If the plaintiff succeeds in showing a prima facie case of       an inference of discrimination when he was deposed by
discrimination, a presumption of discrimination arises,          SRS and specifically questioned regarding the basis for
and the burden shifts to the defendant to demonstrate            his claim. (See McCaskill Dep., pp. 19-22 (explaining
some legitimate, nondiscriminatory reason for the                that he filed the complaint because "he felt" that he was
adverse decision or action. McDonnell Douglas Corp.,             being discriminated against)). In his response to the
411 U.S. at 802; Ruiz, 609 F.3d at 492. If the defendant         summary judgment motion, plaintiff appears to argue
provides such a reason, the presumption of                       that his termination was motivated by racial
discrimination created by the prima facie case drops out         discrimination because, inter alia, he overheard a
of the analysis, and the defendant "will be entitled to          derogatory racist remark directed towards him by SRS
summary judgment...unless the plaintiff can point to             employees. (Pl. Response, ¶ 17).
evidence that reasonably supports a finding of
prohibited discrimination." James v. N.Y. Racing Ass'n,          It is well-established that the circumstances which may
233 F.3d 149, 154 (2d Cir. 2000). In other words, the            give rise to an inference of discrimination include
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"remarks made by decisionmakers that could be viewed            Plaintiff has failed to adduce any evidence from which a
as reflecting a discriminatory animus." Chertkova v.            fact-finder could infer a connection between the alleged
Connecticut Gen. Life Ins. Co., 92 F.3d 81, 91 (2d Cir.         discriminatory remark and the decision to terminate his
1996); see also Ostrowski v. Atlantic Mut. Ins. Cos., 968       employment. First, plaintiff has not identified who made
F.2d 171, 182 (2d Cir. 1992). SRS argues that plaintiff's       the remark or exactly when it was made. Even
assertion that he overheard a derogatory racist remark          assuming that it was made by an SRS employee, there
cannot create a genuine issue of material fact because          is no indication that the employee had anything to do
it is directly contradicted by his sworn deposition             with the decision to terminate plaintiff's employment.
testimony. (Dkt No. 78, pp. 5-7). Plaintiff testified at his    Plaintiff alleges that he overheard the comment while he
deposition that no one used racist or derogatory                was "in the cooler" (Pl. Response, ¶ 7); there is no
terms [*14] toward him during his employment with               evidence that the remark was made in an official setting
SRS, (see McCaskill Dep., p. 21); plaintiff presently           such as a performance review. There is also no
asserts that he "overheard two employees talking" and           evidence connecting the remark to Mr. Ausanio, the
that one of them called him "a stupid ass nigger." (Pl.         Albany Store Director who informed plaintiff [*16] of the
Response, ¶ 17). To explain the contradiction, plaintiff        termination decision. There is no evidence that SRS
asserts that he "was not thinking clearly" at the time of       management         and    decision-makers      made  any
his deposition. (Sur-Reply, ¶ 2).                               derogatory comments towards plaintiff. In addition,
                                                                plaintiff alleges that this comment was made at the
Plaintiff cannot create an issue of fact as to whether a        Hudson store, whereas he was working at the Albany
discriminatory comment was made by submitting an                store at the time of his termination. (Def. SMF, ¶ 7; Pl.
affidavit which contradicts his own prior testimony. In re      Response, ¶ 7; McCaskill Dep., p. 9). Thus, the remark
World Trade Ctr. Lower Manhattan Disaster Site Litig.,          was also physically and temporally distanced from the
758 F.3d 202, 213 (2d Cir. 2014) ("plaintiffs may not           decision      to    terminate    plaintiff's  employment.
create material issues of fact by submitting affidavits         Accordingly, no reasonable fact-finder could conclude
that dispute their own prior testimony"); Brown v.              that the alleged discriminatory comment made against
Henderson, 257 F.3d 246, 252 (2d Cir. 2001) ("factual           plaintiff supports an inference of discrimination.
allegations that might otherwise defeat a motion for
summary judgment will not be permitted to do so when            A showing of disparate treatment may also support an
they are made for the first time in the plaintiff's affidavit   inference of discrimination, if plaintiff can demonstrate
opposing summary judgment and that affidavit                    that his employer treated him "less favorably than a
contradicts her own prior deposition testimony"); Trans-        similarly situated employee outside his protected group."
Orient Marine Corp. v. Star Trading & Marine, Inc., 925         Mandell v. County of Suffolk, 316 F.3d 368, 379 (2d Cir.
F.2d 566, 572 (2d Cir. 1991).                                   2003). An employee is similarly situated to other
                                                                employees if they were (1) "subject to the same
But even if plaintiff's new allegation was in admissible        performance evaluation and discipline standards" and
form as an affidavit, and did not contradict his deposition     (2) "engaged in comparable conduct." Graham v. Long
testimony, the Court finds that the alleged comment is          Island R.R., 230 F.3d 34, 40 (2d Cir. 2000). "[T]he
the type of "stray remark" which fails to support an            standard for comparing conduct requires a reasonably
interference of discrimination because it has no                close resemblance of the facts and circumstances of
connection with plaintiff's [*15] termination. See Bobo v.      plaintiff's and comparator's cases, rather than a showing
Wachovia Sec. L.L.C., No. 1:07-CV-01056, 2010 U.S.              that [*17] both cases are identical." Id. In other words,
Dist. LEXIS 27378, at *23, 2010 WL 1186455, at *8               the fellow employee used for comparison must be
(N.D.N.Y Mar. 23, 2010) ("stray remarks, 'without more,         similarly situated to the plaintiff "in all material respects."
cannot get a discrimination suit to a jury.'") (citing          Shumway v. United Parcel Serv., Inc., 118 F.3d 60, 64
Danzer v. Norden Sys., Inc., 151 F.3d 50, 56 (2d Cir.           (2d Cir. 1997).
1998)). In general, stray remarks are those made "in the
workplace by persons who are not involved in the                After thoroughly reviewing the record, the Court can find
pertinent decisionmaking process." Ostrowski, 968 F.2d          no evidence that SRS treated Caucasian employees
at 182. Further, "the more remote and oblique the               with poor job performance and complaints of sexual
remarks are in relation to the employer's adverse action,       harassment any more favorably than plaintiff. In his
the less they prove that the action was motivated by            deposition testimony plaintiff asserted that "Matt," a
discrimination." Tomassi v. Insignia Fin. Group, Inc., 478      Caucasian supervisor, was treated more favorably
F.3d 111, 115 (2d Cir. 2007).                                   because he was not terminated despite being caught
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"throwing a football" in the store. (McCaskill Dep., p. 28).   and    subjective    beliefs"     insufficient  to   show
Even if the Court accepts as true this assertion               discriminatory motive); Bickerstaff v. Vassar College,
regarding "Matt," which is not documented in the record,       196 F.3d 435, 456 (2d Cir. 1999) ("feelings and
plaintiff has failed to show that he was similarly situated:   perceptions" of being discriminated against "are not
"Matt" was apparently a supervisor while plaintiff was a       evidence" of discrimination); Schwapp v. Town of Avon,
part-time probationary clerk, and "Matt" was allegedly         118 F.3d 106, 110 (2d Cir. 1997) ("[E]ven in the
accused of throwing a football on the job while plaintiff      discrimination context, a plaintiff must provide more than
was accused of poor job performance and violating              conclusory allegations of discrimination to defeat a
SRS's policies concerning sexual harassment and                motion for summary judgment.").
threats of violence.

In his response to the summary judgment motion,                B. Defendant's Non-Discriminatory Reasons for
plaintiff asserted that Caucasian SRS employees were           Termination
not terminated despite complaints of harassment. (Pl.
Response, [*18] ¶ 18). Plaintiff named co-workers              Even assuming that plaintiff could make out a prima
Jezsire Garlan, Shawntel Harlee, and Maurice Adams             facie case of discrimination, defendant SRS has
as examples. (Id.). These assertions of disparate              provided legitimate non-discriminatory reasons for
treatment are completely unsubstantiated. Plaintiff            terminating plaintiff's employment, namely his poor job
adduces no evidence that Ms. Garlan or Ms. Harlee              performance and the allegation against him of sexual
were accused of harassment, sexual or otherwise. In            harassment. Defendant's burden [*20] at this stage is to
fact, it appears that they both filed sexual harassment        "clearly set forth, through the introduction of admissible
complaints against Mr. Adams. (See "Exhibits" to Pl.           evidence, reasons for its actions which, if believed by
Response, Dkt. No. 77, pp. 11-14, 18-20; Dkt. No. 78,          the trier of fact, would support a finding that unlawful
pp. 9-10). Nor has plaintiff adduced evidence which            discrimination was not the cause of the employment
would support a disparate treatment claim based upon           action." St. Mary's Honor Ctr. v. Hicks, 509 U.S. 502,
SRS's treatment of Mr. Adams. First, Mr. Adams was             507, 113 S. Ct. 2742, 125 L. Ed. 2d 407 (1993) (internal
African-American and not Caucasian, and therefore              quotation marks omitted). SRS has met this burden.
within the same protected group as plaintiff. (Exhibit to
Pl. Response, Dkt. No. 77, p. 10; Dkt. No. 78, p. 9).          In his sworn statement, SRS Albany Store Director
There is no evidence that Mr. Adams had poor work              Dominic Ausanio stated that the "training teams"
performance or violated SRS's policies concerning              informed him that plaintiff "was having trouble
threats of violence. Moreover, it is undisputed that Mr.       understanding how to tag prices and place items in the
Adams was terminated as a result of the sexual                 correct locations on the shelves." (Ausanio Cert., ¶ 7).
harassment complaints. (Exhibit to Pl. Response, Dkt.          Mr. Ausanio also stated that he "personally observed
No. 77, p. 20; Dkt. No. 78, p. 10). Thus, even viewing         plaintiff's poor work performance," explaining that
the facts in the light most favorable to plaintiff, there is   "[d]espite being trained in professional customer
no evidence from which a jury could find that                  relations" plaintiff "did not greet customers and did not
plaintiff [*19] was subjected to disparate treatment           ask customers if they needed help." (Id., ¶ 8). Moreover,
sufficient to support an inference of discrimination.          SRS Human Resource Coordinator Shannon DeFreese
                                                               stated that plaintiff's co-worker Melissa Stiles reported
Accordingly, plaintiff has provided no evidence that his       him for sexual harassment, and complained that plaintiff
termination occurred under circumstances giving rise to        made lewd advances; "described the sexual things he
an inference of discrimination. Based upon a thorough          wanted to do to her;" and even threatened her
review of the record, plaintiff has demonstrated nothing       physically. (DeFreese Cert., ¶¶ 4-6). According to Ms.
more than his own subjective belief and feeling that he        DeFreese, SRS decided to terminate plaintiff's
was discriminated against, "which is not enough to             employment [*21] based on his "violation of SRS'
make out a prima facie discrimination case under Title         policies concerning Harassment and Threats of
VII." Gibbs v. Metro. Transp. Auth., No. 13-CV-1583,           Violence and the negative feedback received by Mr.
2014 U.S. Dist. LEXIS 159093, at *14, 2014 WL                  Ausanio concerning McCaskill's job performance." (Id., ¶
5842833, at *5 (E.D.N.Y. Nov. 12, 2014); see also              10).
Ogindo v. Defleur, No. 07-CV-1322, 2010 U.S. Dist.
LEXIS 6478, at *23, 2010 WL 410374, at *8 (N.D.N.Y             Therefore, SRS sustained its burden of providing non-
Jan. 22, 2010) ("personal assumptions, conclusions,            discriminatory reasons for terminating plaintiff's
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employment because poor performance and misconduct               App'x 583 (2d Cir. 2009); see also McLee v. Chrysler
are well-recognized legitimate grounds for termination.          Corp., 109 F.3d 130, 135 (2d Cir. 1997) (finding that the
See Gregory v. Daly, 243 F.3d 687, 696 (2d Cir. 2001)            plaintiff's rationalizations for his deficiencies did not
("An employer's dissatisfaction with even a qualified            create any [*23] genuine issue of material fact
employee performance may, of course, ultimately                  regarding the employer's legitimate explanation that
provide a legitimate, non-discriminatory reason for the          plaintiff had unsatisfactory job performance); Ricks v.
employer's adverse action."); Morris v. Charter One              Conde Nast Publ'ns, Inc., 92 F.Supp.2d 338, 346
Bank, 275 F. Supp. 2d 249, 256 (N.D.N.Y. 2003)                   (S.D.N.Y. 2000) ("The mere fact that an employee
(holding that an employer's cited reason for                     disagrees with her employer's assessment of her work,
termination—poor sales performance—was legitimate                however, cannot, standing on its own, show that the
and non-discriminatory); Ruiz v. Cnty. of Rockland, 609          employer's asserted reason for termination was
F.3d 486, 492 (2d Cir. 2010) ("[M]isconduct may                  pretextual.").
certainly provide a legitimate and non-discriminatory
reason to terminate an employee.") (quoting Owens v.             Nor can plaintiff show that the alleged misconduct cited
New York City Hous. Auth., 934 F.2d 405, 409 (2d Cir.            by SRS was a mere pretext. Even if plaintiff had
1991)).                                                          presented admissible evidence that the allegations of
                                                                 sexual harassment against him were false, there is no
                                                                 evidence from which a fact-finder could infer that the
C. Were Defendant's Reasons for Termination                      real reason for his termination was discrimination.
Pretextual                                                       Ultimately, it does not matter if the complaint by Ms.
                                                                 Stiles was true or false, because defendant's decision to
Since defendant SRS has shown legitimate non-                    terminate plaintiff need not be correct or even fair—it
discriminatory reasons for terminating plaintiff's               simply cannot be discriminatory. See McPherson v.
employment, the burden returns to plaintiff to come              N.Y.C. Dep't. of Educ., 457 F.3d 211, 216 (2d Cir. 2006)
forward with evidence that the reasons cited are "mere           ("In a discrimination case...we are decidedly not
pretext for actual discrimination." See McDonnell                interested in the truth of the allegations against plaintiff.
Douglas, 411 U.S. at 804; Weinstock, 224 F.3d at 42.             We are interested in what 'motivated the employer.'")
Plaintiff must produce "sufficient evidence to support a         (emphasis omitted) (quoting U.S. Postal Serv. Bd. of
rational finding that [*22]        the legitimate, non-          Governors v. Aikens, 460 U.S. 711, 716, 103 S. Ct.
discriminatory reasons" presented by the defendant               1478, 75 L. Ed. 2d 403 (1983); Kolesnikow v. Hudson
were false, and that "more likely than not discrimination        Valley Hosp. Ctr., 622 F. Supp. 2d 98, 111 (S.D.N.Y.
was the real reason for the employment action."                  2009) ("Where a plaintiff has been terminated for
Weinstock, 224 F.3d at 42 (internal quotation marks and          misconduct, the question is not whether the employer
alterations omitted). "In short, the question becomes            reached a correct conclusion in attributing fault [*24] to
whether the evidence, taken as a whole, supports a               the plaintiff, but whether the employer made a good-
sufficient rational inference of discrimination." Id. "[I]t is   faith business determination.") (internal quotations
not enough...to disbelieve the employer; the factfinder          omitted).
must [also] believe the plaintiff's explanation of
intentional discrimination." St. Mary's Honor Ctr., 509          In sum, plaintiff has failed to present any evidence that
U.S. at 519 (emphasis omitted).                                  defendant's cited reasons for terminating his
                                                                 employment, poor performance and alleged misconduct,
Plaintiff argues that defendant's reason for terminating         were pretextual and not legitimate bases for a non-
his employment was not related to job performance                discriminatory business decision. Even after scouring
because he was a good employee, did nothing wrong,               the record and construing all the evidence in the light
and never directly received any negative feedback. (Pl.          most favorable to plaintiff, the Court finds no issue of
Response, ¶¶ 8-10). However, he has cited no evidence            material fact as to plaintiff's Title VII claim, and
to demonstrate that SRS's legitimate, non-discriminatory         accordingly, concludes that no rational jury could find
reason was pretextual. Plaintiff simply disagrees with           that defendant's decision to terminate plaintiff's
SRS's evaluations of his performance. However, a                 employment was motivated by racial discrimination.
plaintiff's "subjective belief that he was a better
performer than his supervisor believed him to be is
insufficient to prove pretext." Jaiyeola v. Carrier Corp.,       V. CONCLUSION
562 F. Supp. 2d 384, 390 (N.D.N.Y. 2008), aff'd, 350 F.
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WHEREFORE, for the foregoing reasons, it is hereby

ORDERED that defendant's motion for summary
judgment (Dkt. No. 76) is GRANTED; and it is further

ORDERED that plaintiff's complaint against ShopRite
(Dkt. No. 1) is DISMISSED; and it is further

ORDERED that the Clerk close this case; and it is
further

ORDERED that the Clerk provide a copy of this
Memorandum-Decision and Order to the parties.

IT IS SO ORDERED.

Dated: January 30, 2015

/s/ Brenda K. Sannes

Brenda K. Sannes

United States District [*25] Judge


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